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                                  #:5606


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 8

 9

10                            UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12

13   WILL KAUPELIS and FRANK                    Case No. 8:19-cv-01203-JVS-DFM
     ORTEGA, individually and on behalf of
14   all others similarly situated,             DECLARATION OF ALEC M.
15                                              LESLIE IN SUPPORT OF
                                  Plaintiffs,   PLAINTIFFS’ REPLY
16                                              MEMORANDIM OF LAW ISO
           v.                                   CLASS CERTIFICATION
17
     HARBOR FREIGHT TOOLS USA,                  Date:         June 1, 2020
18
     INC.,                                      Time:         1:30 p.m.
19                                              Courtroom:    10C
                                                Judge:        Hon. James V. Selna
20                                Defendant.
21

22

23

24       REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
25                          UNDER SEAL
26

27

28


     LESLIE DECLARATION; CASE NO. 8:19-CV-01203-JVS-DFM                             1
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 1         I, Alec M. Leslie, declare as follows:
 2         1.     I am over the age of 18 and I submit this declaration in support of
 3   Plaintiffs’ Reply Memorandum of Law in Support of Plaintiffs’ Motion for Class
 4   Certification. I have personal knowledge of the facts set forth in this declaration and,
 5   if called as a witness, I could and would testify competently thereto.
 6         2.     On the same day Plaintiffs filed their motion for class certification on
 7   March 2, 2020, and again in later productions, Defendant produced numerous
 8   relevant documents, including, for example, Exhibits 2-38 and Exhibit 40, listed
 9   below.
10         3.     Attached hereto as Exhibit 1 is a timeline compiled by Plaintiffs’
11   counsel detailing Defendant’s knowledge of the defect at issue in chronological
12   order, dating back over 4 and a half years before Defendant issued its recall. Exhibit
13   1 is comprised of customer complaints received by Defendant as well as Defendant’s
14   own internal communications concerning the defect at issue.
15         4.     Attached hereto as Exhibit 2 is a true and correct copy of a customer
16   complaint received by Defendant concerning the defect at issue, which Defendant
17   has designated “Confidential” and Bates marked HFT_K&O_0002526. This
18   document is filed under seal.
19         5.     Attached hereto as Exhibit 3 is a true and correct copy Defendant’s
20   internal correspondence discussing customer complaints regarding the defect at
21   issue, which Defendant has designated “Confidential” and Bates marked
22   HFT_KO_0003228. This document is filed under seal.
23         6.     Attached hereto as Exhibit 4 is a true and correct copy of a customer
24   complaint received by Defendant concerning the defect at issue, which Defendant
25   has designated “Confidential” and Bates marked HFT_K&O_0003217. This
26   document is filed under seal.
27         7.     Attached hereto as Exhibit 5 is a true and correct copy of a customer
28   complaint received by Defendant concerning the defect at issue, which Defendant

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 1   has designated “Confidential” and Bates marked HFT_K&O_0002768. This
 2   document is filed under seal.
 3         8.     Attached hereto as Exhibit 6 is a true and correct copy of a customer
 4   complaint received by Defendant concerning the defect at issue, which Defendant
 5   has designated “Confidential” and Bates marked HFT_K&O_0002806. This
 6   document is filed under seal.
 7         9.     Attached hereto as Exhibit 7 is a true and correct copy Defendant’s
 8   internal correspondence discussing the defect at issue, which Defendant has
 9   designated “Confidential” and Bates marked HFT_KO_0003228. This document is
10   filed under seal.
11         10.    Attached hereto as Exhibit 8 is a true and correct copy of a customer
12   complaint received by Defendant concerning the defect at issue, which Defendant
13   has designated “Confidential” and Bates marked HFT_K&O_0002415. This
14   document is filed under seal.
15         11.     Attached hereto as Exhibit 9 is a true and correct copy of a customer
16   complaint received by Defendant concerning the defect at issue, which Defendant
17   has designated “Confidential” and Bates marked HFT_K&O_0002809. This
18   document is filed under seal.
19         12.     Attached hereto as Exhibit 10 is a true and correct copy of a customer
20   complaint received by Defendant concerning the defect at issue, which Defendant
21   has designated “Confidential” and Bates marked HFT_K&O_0002835. This
22   document is filed under seal.
23         13.     Attached hereto as Exhibit 11 is a true and correct copy of a customer
24   complaint received by Defendant concerning the defect at issue, which Defendant
25   has designated “Confidential” and Bates marked HFT_K&O_0002825. This
26   document is filed under seal.
27         14.     Attached hereto as Exhibit 12 is a true and correct copy of a customer
28   complaint received by Defendant concerning the defect at issue, and Defendant’s
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 1   internal correspondence discussing the same, which Defendant has designated
 2   “Confidential” and Bates marked HFT_K&O_0002766. This document is filed
 3   under seal.
 4         15.     Attached hereto as Exhibit 13 is a true and correct copy of a customer
 5   complaint received by Defendant concerning the defect at issue, which Defendant
 6   has designated “Confidential” and Bates marked HFT_K&O_0002831. This
 7   document is filed under seal.
 8         16.     Attached hereto as Exhibit 14 is a true and correct copy of a customer
 9   complaint received by Defendant concerning the defect at issue, which Defendant
10   has designated “Confidential” and Bates marked HFT_K&O_0002824. This
11   document is filed under seal.
12         17.     Attached hereto as Exhibit 15 is a true and correct copy of a customer
13   complaint and summons for a personal injury lawsuit concerning the product defect
14   at issue captioned Burgard v. Chicago Electric Power Tools and Harbor Freight
15   Tools USA, Inc., Case No. 37-20I7-00000155-CU-EL-NC (Super. Ct. San Diego
16   Cnty. 2017). Defendant has designated this document as “Confidential” and Bated
17   marked it HFT_K&O_0002445. This document is filed under seal.
18         18.     Attached hereto as Exhibit 16 is a true and correct copy of
19   Defendant’s internal Quality Assurance analysis concerning issues with the product,
20   including the trigger defect, which Defendant has designated “Confidential” and
21   Bates marked HFT_K&O_0002801. This document is filed under seal.
22         19.     Attached hereto as Exhibit 17 is a true and correct copy of a customer
23   complaint received by Defendant concerning the defect at issue, which Defendant
24   has designated “Confidential” and Bates marked HFT_K&O_0002820. This
25   document is filed under seal.
26         20.     Attached hereto as Exhibit 18 is a true and correct copy of a customer
27   complaint received by Defendant concerning the defect at issue, which Defendant
28

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 1   has designated “Confidential” and Bates marked HFT_K&O_0002810. This
 2   document is filed under seal.
 3         21.     Attached hereto as Exhibit 19 is a true and correct copy of Defendant’s
 4   internal correspondence of a customer complaint regarding the defect and
 5   Defendant’s internal monitoring of the same, which Defendant has designated
 6   “Confidential” and Bates marked HFT_K&O_0002770. This document is filed
 7   under seal.
 8         22.     Attached hereto as Exhibit 20 is a true and correct copy of a customer
 9   complaint received by Defendant concerning the defect at issue, which Defendant
10   has designated “Confidential” and Bates marked HFT_K&O_0002876. This
11   document is filed under seal.
12         23.     Attached hereto as Exhibit 21 is a true and correct copy of a customer
13   complaint received by Defendant concerning the defect at issue, which Defendant
14   has designated “Confidential” and Bates marked HFT_K&O_0002874. This
15   document is filed under seal.
16         24.     Attached hereto as Exhibit 22 is a true and correct copy of Defendant’s
17   internal correspondence discussing customer complaints regarding the defect at
18   issue, which Defendant has designated “Confidential” and Bates marked
19   HFT_K&O_0002764. This document is filed under seal.
20         25.     Attached hereto as Exhibit 23 is a true and correct copy of a customer
21   complaint received by Defendant concerning the defect at issue, which Defendant
22   has designated “Confidential” and Bates marked HFT_K&O_0002883. This
23   document is filed under seal.
24         26.     Attached hereto as Exhibit 24 is a true and correct copy of Defendant’s
25   internal correspondence concerning Quality Assurance testing of the product at issue,
26   which Defendant has designated “Confidential” and Bates marked
27   HFT_K&O_0003446. This document is filed under seal.
28

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 1         27.    Attached hereto as Exhibit 25 is a true and correct copy of Defendant’s
 2   internal correspondence concerning an analysis of the most common complaints for
 3   the product at issue, which Defendant has designated “Confidential” and Bates
 4   marked HFT_K&O_0002890. This document is filed under seal.
 5         28.    Attached hereto as Exhibit 26 is a true and correct copy of a customer
 6   complaint received by Defendant concerning the defect at issue, which Defendant
 7   has designated “Confidential” and Bates marked HFT_K&O_0002907. This
 8   document is filed under seal.
 9         29.    Attached hereto as Exhibit 27 is a true and correct copy of a customer
10   complaint received by Defendant concerning the defect at issue, which Defendant
11   has designated “Confidential” and Bates marked HFT_K&O_0002906. This
12   document is filed under seal.
13         30.    Attached hereto as Exhibit 28 is a true and correct copy of a customer
14   complaint received by Defendant concerning the defect at issue, which Defendant
15   has designated “Confidential” and Bates marked HFT_K&O_0002897. This
16   document is filed under seal.
17         31.    Attached hereto as Exhibit 29 is a true and correct copy of a customer
18   complaint received by Defendant concerning the defect at issue, which Defendant
19   has designated “Confidential” and Bates marked HFT_K&O_0002910. This
20   document is filed under seal.
21         32.    Attached hereto as Exhibit 30 is a true and correct copy of a customer
22   complaint received by Defendant concerning the defect at issue, which Defendant
23   has designated “Confidential” and Bates marked HFT_K&O_0002911. This
24   document is filed under seal.
25         33.    Attached hereto as Exhibit 31 is a true and correct copy of Defendant’s
26   internal correspondence identifying the cause of the defect at issue and describing
27   results of internal testing, which Defendant has designated “Confidential” and Bates
28   marked HFT_K&O_0002852. This document is filed under seal.
      LESLIE DECLARATION; CASE NO. 8:19-CV-01203-JVS-DFM                                    5
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 1         34.     Attached hereto as Exhibit 32 is a true and correct copy of a customer
 2   complaint received by Defendant concerning the defect at issue, which Defendant
 3   has designated “Confidential” and Bates marked HFT_K&O_0002911. This
 4   document is filed under seal.
 5         35.     Attached hereto as Exhibit 33 is a true and correct copy of a customer
 6   complaint received by Defendant concerning the defect at issue, and Defendant’s
 7   internal correspondence discussing the same, which Defendant has designated
 8   “Confidential” and Bates marked HFT_K&O_0003274. This document is filed
 9   under seal.
10         36.     Attached hereto as Exhibit 34 is a true and correct copy of a customer
11   complaint received by Defendant concerning the defect at issue, which Defendant
12   has designated “Confidential” and Bates marked HFT_K&O_0002398. This
13   document is filed under seal.
14         37.     Attached hereto as Exhibit 35 is a true and correct copy of a customer
15   complaint received by Defendant concerning the defect at issue, and Defendant’s
16   internal correspondence discussing the same, which Defendant has designated
17   “Confidential” and Bates marked HFT_K&O_0002968. This document is filed
18   under seal.
19         38.     Attached hereto as Exhibit 36 is a true and correct copy of a customer
20   complaint received by Defendant concerning the defect at issue, which Defendant
21   has designated “Confidential” and Bates marked HFT_K&O_0002967. This
22   document is filed under seal.
23         39.     Attached hereto as Exhibit 37 is a true and correct copy of a customer
24   complaint received by Defendant concerning the defect at issue, which Defendant
25   has designated “Confidential” and Bates marked HFT_K&O_0002436. This
26   document is filed under seal.
27         40.     Attached hereto as Exhibit 38 is a true and correct copy of a customer
28   complaint received by Defendant concerning the defect at issue, which Defendant
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 1   has designated “Confidential” and Bates marked HFT_K&O_0002976. This
 2   document is filed under seal.
 3          41.    Attached hereto as Exhibit 39 is a true and correct copy of a customer
 4   complaint received by Defendant concerning the defect at issue, and Defendant’s
 5   correspondence with the customer, which Defendant has designated “Confidential”
 6   and Bates marked HFT_K&O_0001327. This document is filed under seal.
 7          42.    Attached hereto as Exhibit 40 is a true and correct copy of a customer
 8   complaint received by Defendant concerning the defect at issue, which Defendant
 9   has designated “Confidential” and Bates marked HFT_K&O_0002439. This
10   document is filed under seal.
11          43.    Attached hereto as Exhibit 41 is a true and correct copy of the Rebuttal
12   Declaration of Dr. John M. Tobias, Ph.D, PE. This document is filed under seal.
13          44.    Attached hereto as Exhibit 42 is a true and correct copy of
14   correspondence between Defendant and the Consumer Product Safety Commission
15   (“CPSC”) concerning language to be used in Defendant’s recall, which Defendant
16   has designated “Confidential” and Bates marked HFT_K&O_0003421. This
17   document is filed under seal.
18          45.    Attached hereto as Exhibit 43 is a true and correct excerpt of an excel
19   spreadsheet Defendant produced detailing sales records for the product in the state of
20   California, which Defendant has designated as “Confidential.” Defendant produced
21   similar sales data on a state-by-state basis, which shows that far more than 40 units
22   were sold within each of the proposed classes. This document is filed under seal.
23          46.    Attached hereto as Exhibit 44 is a true and correct copy of Defendant’s
24   Customer Service Script concerning Defendant’s recall, which Defendant has
25   designated “Confidential” and Bates marked HFT_K&O_0003102. This document
26   is filed under seal.
27          47.    Attached hereto as Exhibit 45 is a true and correct copy of a customer
28   complaint received by Defendant concerning Defendant’s recall, which Defendant
      LESLIE DECLARATION; CASE NO. 8:19-CV-01203-JVS-DFM                                      7
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 1   has designated “Confidential” and Bates marked HFT_K&O_0003409. This
 2   document is filed under seal.
 3           48.   Attached hereto as Exhibit 46 is a true and correct copy of a customer
 4   complaint received by Defendant concerning Defendant’s recall, which Defendant
 5   has designated “Confidential” and Bates marked HFT_K&O_0003408. This
 6   document is filed under seal.
 7           49.   Attached hereto as Exhibit 47 is a true and correct copy of a customer
 8   complaint received by Defendant concerning Defendant’s recall, which Defendant
 9   has designated “Confidential” and Bates marked HFT_K&O_0003398. This
10   document is filed under seal.
11           50.   Attached hereto as Exhibit 48 is a true and correct copy of the Rebuttal
12   Declaration of Colin B. Weir.
13           51.   Attached hereto as Exhibit 49 is a true and correct copy of a customer
14   complaint submitted to the CPSC concerning the defect at issue.
15           52.   Attached hereto as Exhibit 50 is a true and correct copy of excerpts of
16   the deposition of Rick Reyes, a Harbor Freight employee, taken in this case.
17           53.   Attached hereto as Exhibit 51 is a true and correct copy of excerpts of
18   the deposition of Dirk Duffner, taken in this case.
19           54.   Attached hereto as Exhibit 52 is a true and correct copy of excerpts of
20   the deposition of Harbor Freight’s 30(b)(6) witness Casper Wypych, taken in this
21   case.
22           55.   Attached hereto as Exhibit 53 is a true and correct copy of a customer
23   complaint submitted to the CPSC concerning the defect at issue.
24           56.   Attached hereto as Exhibit 54 is a true and correct copy of Plaintiffs’
25   First Set of Interrogatories to Defendant, served on August 7, 2019.
26           57.   Attached hereto as Exhibit 55 is a true and correct copy of excerpts of
27   the deposition of Plaintiff Frank Ortega, taken in this case.
28

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 1            58.   Attached hereto as Exhibit 56 is a true and correct copy of excerpts of
 2    the deposition of Colin B. Weir, taken in this case.
 3            59.   Attached hereto as Exhibit 57 is a true and correct copy of excerpts of
 4    the deposition of Joseph Mohorovic, taken in this case.
 5            60.   Attached hereto as Exhibit 58 is a true and correct copy of excerpts of
 6    the deposition of Harbor Freight’s 30(b)(6) witness Danielle Cugini, taken in this
 7    case.
 8            61.   Attached hereto as Exhibit 59 is a true and correct copy of a Notice
 9    Letter pursuant to the CLRA and U.C.C. §§ 2-313, 2-314, sent to Defendant on May
10    7, 2019.
11            62.   Attached hereto as Exhibit 60 is a true and correct copy of excerpts of
12    the deposition of Jonathan Tomlin, taken in this case.
13            63.   Attached hereto as Exhibit 61 is a true and correct copy of the rough
14    deposition transcript of the deposition of Robert Zeithammer, taken in this case.
15

16            I declare under penalty of perjury that the foregoing is true and correct.
17    Executed on September 8, 2020, in New York, New York.
18

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                                                        Alec M. Leslie
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      LESLIE DECLARATION; CASE NO. 8:19-CV-01203-JVS-DFM                                      9
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                   EXHIBITS 1 - 48 FILED UNDER SEAL
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                                                              EXHIBIT 49
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                                                              EXHIBIT 50
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  1                   UNITED STATES DISTRICT COURT
  2                  CENTRAL DISTRICT OF CALIFORNIA
  3
  4    _________________________
                                )
  5    WILL KAUPELIS and FRANK )
       ORTEGA, individually and )
  6    on behalf of all others )
       similarly situated,      )
  7                             )
                  Plaintiffs,   )
  8                             )
       vs.                      ) No. 8:19-cv-01203-JVS-DFM
  9                             )
       HARBOR FREIGHT TOOLS     )
10     USA, INC.,               )
                                )
11                Defendant.    )
                                )
12     _________________________)
13
14
15                VIDEOTAPED DEPOSITION OF RICK REYES
16                       Camarillo, California
17                      Thursday, June 25, 2020
18                              Volume I
19
20
21     Reported by:
       CATHERINE A. RYAN, RMR, CRR
22     CSR No. 8239
23     Job No. 4130051
24
25     PAGES 1 - 88

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                                Veritext Legal Solutions
                                     866 299-5127
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  1         Q     Have you ever attended any presentations          09:12:12

  2    or classes on what to do when a customer complains

  3    about a potential safety hazard?

  4         A     No, sir.

  5         Q     Are you aware of any coworkers at Harbor          09:12:22

  6    Freight who received any training about what to do

  7    when a customer complains about a potential safety

  8    defect?

  9         A     No, sir.

 10         Q     In your experience at Harbor Freight --           09:12:34

 11    strike that.

 12               In your experience, is it Harbor Freight's

 13    policy to take customer complaints about safety

 14    hazard seriously?

 15         A     Yes, sir.                                         09:12:58

 16         Q     Now, in your time working at Harbor

 17    Freight, you have, on occasion, received information

 18    about customers complaining about potential safety

 19    hazards.

 20               Is that -- is that a true statement?              09:13:20

 21         A     That would be correct.

 22         Q     Okay.    When it happens, is it your general

 23    practice to assume customers are lying when they

 24    complain about a safety hazard?

 25         A     No, sir.                                          09:13:29

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                                   Veritext Legal Solutions
                                        866 299-5127
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  1         Q    Has management at Harbor Freight ever told         09:13:30

  2    you that you should assume customers are lying or

  3    mistaken when they complain about a safety hazard?

  4         A    Never.

  5         Q    If you were to receive a complaint from a          09:13:47

  6    customer that makes you think that maybe a re-call

  7    might be needed -- if that -- if that were to

  8    happen, would you be permitted to contact upper

  9    management at Harbor Freight and tell them that?

 10              MR. HERLING:     Objection.    Incomplete          09:14:08

 11    hypothetical.     Calls for speculation.

 12    BY MR. SMITH:

 13         Q    Mr. Reyes, you can answer the question.

 14         A    Question again, please.

 15         Q    Sure.                                              09:14:29

 16              Assume you receive a complaint from a

 17    customer that, for whatever reason, makes you think

 18    that a re-call might be needed.

 19              If that were to happen, are you permitted

 20    to reach out to Mr. Valenzuela, for instance, and --         09:14:44

 21    and tell him that you have a concern that a re-call

 22    may be warranted?

 23              MR. HERLING:     Objection.    Incomplete

 24    hypothetical.

 25              THE WITNESS:     I would advise my immediate       09:15:06

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  1    look at it, and we'll -- we'll move forward when                  09:36:13

  2    you're ready.

  3                 (Pause.)

  4         A       Okay.

  5         Q       Mr. Reyes, have you seen the document                09:36:58

  6    that's been marked Exhibit 72 before?

  7         A       Yes, sir.

  8         Q       The answer is "Yes"?

  9         A       Yes.

 10         Q       Okay.   What is Exhibit 72?                          09:37:06

 11         A       Excuse me?

 12         Q       What is Exhibit 72?

 13         A       It's an email sent between me and another

 14    associate.

 15         Q       I want to direct your attention to the               09:37:24

 16    earliest email in the chain on Exhibit 72.              You'll

 17    see it on the second page of Exhibit 72.

 18         A       Yes, sir.

 19         Q       Do you see that?

 20         A       Yes, sir.                                            09:37:34

 21         Q       Okay.   And that's an email from a customer

 22    describing his or her experience with the chainsaw.

 23                 Is that a fair summation?

 24         A       Yes, sir.

 25         Q       And you'll notice that the communication             09:37:48

                                                                        Page 30

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                                         866 299-5127
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  1    at the end -- from the customer at the end of                09:37:51

  2    Exhibit 72 has got 12 bulleted points starting with

  3    "First Name" and ending with "Browser."

  4                 Do you see that?

  5         A       Yes, sir.                                       09:38:00

  6         Q       Okay.   I want to direct your attention to

  7    No. 8, which is "Comments."      And if you read that,

  8    you'll see that the customer states that they were

  9    trimming a hedge on a ladder when the saw would not

 10    turn off.                                                    09:38:14

 11                 Do you see that?

 12         A       Yes, sir.

 13         Q       Okay.   When you received this information

 14    in June 2015, did you ever tell anyone that you

 15    believe the customer must have been lying or                 09:38:29

 16    mistaken about the chainsaw malfunctioning when

 17    they're --

 18         A       No, sir.

 19         Q       -- trimming a hedge?

 20         A       No, sir.                                        09:38:37

 21         Q       Has anyone ever told you that the customer

 22    who sent the complaint shown in Exhibit 72 must have

 23    been lying or mistaken when they say the chainsaw

 24    malfunctioned when they were cutting a hedge?

 25         A       No, sir.                                        09:38:57

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                                    Veritext Legal Solutions
                                         866 299-5127
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  1         Q    Have you ever told anyone that it would be         09:38:58

  2    impossible for the chainsaw power switch to

  3    malfunction in the manner described by the customer

  4    in Exhibit 72?

  5         A    No, sir.                                           09:39:05

  6         Q    Has anyone ever instructed you to keep the

  7    communication from the email about the chainsaw a

  8    secret?

  9         A    No, sir.

 10         Q    Did anyone ever tell you that you should           09:39:20

 11    never disclose the customer complaint in any

 12    discussions outside of work?

 13         A    No, sir.

 14         Q    All right.   We're still on Exhibit 72.    I

 15    want to direct your attention now to the email from          09:39:39

 16    product support, which is on the bottom of the first

 17    page of Exhibit 72.

 18              Do you see that?

 19         A    Yes, sir.

 20         Q    Okay.   And you'll notice the email "From"         09:39:49

 21    line says "Product Support," but then, underneath,

 22    at the end of the email, there's a reference to

 23    someone named "Rick B."

 24              Do you see that?

 25         A    Yes, sir.                                          09:40:02

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  1         A    Okay.                                              10:31:24

  2         Q    Have you seen Exhibit 75 before?

  3         A    No, sir.

  4         Q    I'm sorry.   The answer was "No"?

  5         A    No.                                                10:31:32

  6         Q    Okay.   Sitting here today, looking at

  7    Exhibit 5 [sic], do you have any reason to doubt

  8    that it is an authentic email exchange between you

  9    and Ms. Van Daalen Wetters?

 10         A    No.                                                10:31:48

 11         Q    I want to direct your attention to

 12    Ms. Van Daalen Wetters' email on the second page

 13    where she states as follows:    "This is the 2nd or

 14    3rd call I've received regarding the saw turning on

 15    automatically when plugged into the wall and not             10:32:19

 16    shutting down until unplugged."

 17              Do you see that?

 18         A    Yes, sir.

 19         Q    Did Ms. Van Daalen Wetters ever come back

 20    and tell you that the information she provided you           10:32:31

 21    in this email is incorrect?

 22         A    No, sir.

 23         Q    Did you ever tell Ms. Van Daalen Wetters

 24    that you thought the information that she provided

 25    was incorrect?                                               10:32:42

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  1         A       No, sir.                                        10:32:44

  2         Q       Did you ever tell her that the power

  3    switch cannot possibly fail in the manner described

  4    in the email shown in Exhibit 75?

  5         A       No, sir.                                        10:33:00

  6         Q       Did anyone ever tell you that the power

  7    switch cannot possibly fail in the manner described

  8    in Exhibit 75?

  9         A       No, sir.

 10         Q       When you received the information shown in      10:33:14

 11    Exhibit 75, did you pass it on to anyone in the

 12    quality assurance department?

 13         A       Not that I recall.

 14         Q       Why not?

 15         A       Again, at this point, it's only two or          10:33:30

 16    three calls, and I felt it wasn't -- we were still

 17    monitoring at that point.

 18         Q       Is there any other reason you can think

 19    of, sitting here today, why you did not inform

 20    quality assurance about the information disclosed in         10:33:47

 21    Exhibit --

 22         A       Not --

 23         Q       -- 75?

 24         A       -- that I recall.    No, sir.

 25         Q       Did you take any action after you received      10:34:02

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                                   #:5630

  1              You'll see that's an email.     The "From"         11:02:53

  2    line says "Quality," but, below that, it appears to

  3    be an email from Mr. Tucker.

  4              Does that appear to be correct to you?

  5         A    Yes, sir.                                          11:03:01

  6         Q    And does it also appear to you that

  7    Exhibit 79 is discussing -- or addressing potential

  8    problems with the trigger on the chainsaws that you

  9    were monitoring?

 10         A    Yes, sir.                                          11:03:24

 11         Q    So I want to call your attention to

 12    Mr. Tucker's email at the top of the first page of

 13    Exhibit 79.

 14              You'll see it starts:    "Hello Andrew," and

 15    a few lines below that, he states as follows:                11:03:40

 16    "Quality will watch this item for trigger issues."

 17              Do you see that?

 18         A    Yes, sir.

 19         Q    And sitting here today, do you have any

 20    reason to think Mr. Tucker was -- was not being              11:03:57

 21    truthful when he said that quality was watching the

 22    train saws -- the chainsaws for trigger issues?

 23         A    No, sir.

 24         Q    When you were monitoring the chainsaws in

 25    2015 and '16, were you doing that as part of a               11:04:11

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  1    coordinated effort with Mr. Tucker, or were you both         11:04:16

  2    operating independently of each other?

  3         A    Independently.

  4         Q    Okay.     So in 2015, you were monitoring the

  5    chainsaws on your own, correct?                              11:04:30

  6         A    Yes, sir.

  7         Q    Okay.     And -- and at least, apparently,

  8    based on this email on Exhibit 79, quality assurance

  9    department was also monitoring the chainsaws.

 10              Is that a fair assumption?                         11:04:43

 11         A    Yes, sir.

 12         Q    Do you know anyone named Joel Gonepogu.

 13    First name is J-o-e-l.     Second name is

 14    G-o-n-e-p-o-g-u?

 15         A    No, sir.                                           11:05:03

 16         Q    Were you monitoring the chainsaws in 2017?

 17         A    Pardon me?

 18         Q    Were you monitoring the chainsaws in 2017?

 19         A    2007?

 20         Q    '17.                                               11:05:26

 21         A    '17.     I'm sorry.   Yes, sir.

 22         Q    Okay.     When you were monitoring the

 23    chainsaws in 2017, did anyone at Harbor Freight tell

 24    you that the chainsaws had been tested and they

 25    determined they had some problems with the switches?         11:05:41

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                                   #:5632

  1            I, the undersigned, a Certified Shorthand
  2    Reporter of the State of California, do hereby
  3    certify:
  4            That the foregoing proceedings were taken
  5    before me at the time and place herein set forth;
  6    that any witnesses in the foregoing proceedings,
  7    prior to testifying, were administered an oath; that
  8    a record of the proceedings was made by me using
  9    machine shorthand which was thereafter transcribed
10     under my direction; that the foregoing is a true
11     record of the testimony given.
12             Further, that if the foregoing pertains to the
13     original transcript of a deposition in a Federal
14     Case, before completion of the proceedings, review
15     of the transcript [         ] was [ X ] was not requested.
16                    I further certify that I am neither
17     financially interested in the action nor a relative
18     or employee of any attorney or any party to this
19     action.
20             IN WITNESS WHEREOF, I have this date
21     subscribed my name:         July 15, 2020.
22
23
24                                <%7484,Signature%>
                                  Catherine A. Ryan, RMR, CRR
25                                CSR No. 8239

                                                                 Page 88

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                                                                EXHIBIT 51
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                                   #:5634

  1                          UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
  2
  3         WILL KAUPELIS and FRANK ORTEGA, )
            individually and on behalf of             )
  4         all others similarly situated,            )
                                                      )
  5                       Plaintiffs,                 ) Case No.
                                                      ) 8:19-cv-01203-JVS-DFM
  6                -vs-                               )
                                                      )
  7         HARBOR FREIGHT TOOLS USA, INC., )
                                                      )
  8                       Defendant.                  )
  9
 10                Videotaped deposition of DIRK H. DUFFNER, taken
 11         remotely via Zoom video conference before Donna L.
 12         Policicchio, C.S.R., and Notary Public, pursuant to
 13         the Federal Rules of Civil Procedure for the United
 14         States District Courts pertaining to the taking of
 15         depositions, at 50 West Summit Drive, Emerald Hills,
 16         California, commencing at 8:57 a.m., Pacific Time, on
 17         the 13th day of August, 2020.
 18
 19
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 25

                                                                   Page 1

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  1              MR. SMITH:    Close the video?            Oh, yeah, go ahead,

  2         go ahead.

  3                       (Exhibit 91 was marked.)

  4         BY MR. SMITH:

  5              Q    Okay.   I just marked Exhibit 91, which

  6         hopefully you have access to.

  7              A    Yep.

  8              Q    Do you recognize Exhibit 91?

  9              A    Yep, those are my notes, yes.

 10              Q    Okay.   And those are the notes you were just

 11         referencing when you're answering some of the

 12         questions I had about your interview with Mr. Wypych?

 13              A    Yes, those first two pages there, yes.

 14              Q    Okay.   I want to direct your attention to the

 15         second page of Exhibit 91.

 16              A    Okay.

 17              Q    Maybe just above the halfway mark you have a

 18         note.    It looks like it says YAT saws are bad, not

 19         SUMEC.

 20                     Am I reading that correctly?

 21              A    Yes.

 22              Q    Okay.   Did someone at Harbor Freight during

 23         the interview tell you that YAT saws are bad?

 24              A    It's kind of my shorthand to help distinguish

 25         between the YAT and the SUMEC.

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  1              Q     Okay.

  2              A     The YAT saws were the ones that were

  3         exhibiting the -- I mean, it's hard to write all

  4         those words.       So the YAT saws were the ones that were

  5         exhibiting the fusing of the contacts and the SUMEC

  6         were not.

  7              Q     Okay.    Who told you that?

  8              A     No one told me that.           I got that from the

  9         reports.

 10              Q     From -- okay.       Did the subject of the YAT

 11         saws being bad come up in your conversation with

 12         Mr. Wypych?

 13              A     Yeah, I wrote it right here, yeah.

 14              Q     Okay.    So what did --

 15              A     My shorthand is bad, but, I mean, bad is such

 16         a strong word.

 17              Q     Did Mr. Wypych tell you the YAT saws were

 18         just fine?

 19              A     Well, no.     I mean, I think the ones he tested

 20         were -- demonstrated he was able to recreate the

 21         failure mode so --

 22              Q     Okay.    What did Mr. Wypych tell you that

 23         prompted you to write on page 2 of Exhibit 91 that

 24         the YAT saws are bad?

 25              A     He didn't tell me anything.            I just got that

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  1         from me reading his reports.             That's not me writing

  2         what he said.      That's me like putting some reference

  3         mark to distinguish YAT from SUMEC.

  4              Q    Okay.    Let me see -- I just want to make sure

  5         I understand correctly.           The first two pages of

  6         Exhibit 91 reflect notes you took during your call

  7         with Mr. Wypych?

  8              A    Yes.

  9              Q    Okay.    And so the second page of Exhibit 91

 10         where you say YAT saws are bad, that was something

 11         you noted during the call with Mr. Wypych?

 12              A    Right.     That was a way for me to

 13         distinguish -- we're talking about YAT, SUMEC, RA.                   I

 14         never heard these words before, so I needed a way to

 15         separate one from the other without writing a lot of

 16         words.

 17              Q    Okay.

 18              A    So that's what I wrote.

 19              Q    All right.      So my question to you is, what

 20         did -- what did you hear on the call with Mr. Wypych

 21         that prompted you to write YAT saws are bad?

 22              A    Nothing.

 23              Q    Okay.    Why did you write YAT saws are bad?

 24              A    I think I answered that.               It was like

 25         shorthand for me to distinguish one versus the other.

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                                   #:5638

  1              Q     Okay.   Why --

  2              A     So I could tell in my call we're talking

  3         about YAT saws, SUMEC saws.            I was like, yeah, okay,

  4         which one is which.

  5              Q     Okay.   Why are YAT saws bad?

  6              A     Why are they bad?        They're the ones that

  7         failed -- they're the ones that Mr. Wypych got to

  8         fail in his test, and the SUMEC ones he did not.

  9              Q     Did you ever exchange any e-mails with

 10         Mr. Wypych?

 11              A     No.

 12              Q     What was your impression of Mr. Wypych

 13         overall?

 14              A     He seemed like a reasonable engineer guy.         He

 15         went to USC, which is kind of bad, but other than

 16         that, he's fine.

 17              Q     Did you have any misgivings about his

 18         confidence as an engineer?

 19              A     No.

 20              Q     And after you spoke with him, did you have

 21         any misgivings about his honesty?

 22              A     No.

 23              Q     Did you learn any information from your

 24         interview with Mr. Wypych that you didn't already

 25         know from looking at the various documents described

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                                   #:5639

  1              Q    Okay.   Are the notes that you were just

  2         looking at notes that were produced in this case?

  3              A    Yes.

  4              Q    What's the rating for a Jiaben Electronics

  5         MSE-11B -- I'm sorry -- 115B switch?

  6              A    15 amps.

  7              Q    And what is the rating for a Jiaben

  8         Electronics MSB, as in boy, -1115B switch?

  9              A    15 amps.

 10              Q    And do you agree that the Harbor Freight

 11         chainsaws at issue in this case can exceed 15 amps?

 12              A    I think it's pretty obvious, right.

 13              Q    Do you know what derating is?

 14              A    Yes.

 15              Q    What is derating?

 16              A    So under certain conditions, certain

 17         products, certain devices, certain things under

 18         certain conditions of use will have lower ratings for

 19         usage than they may have for other conditions of use.

 20         It kind of goes to that duty cycle thing I was

 21         talking about.       Depending on the specific duty, you

 22         may derate certain components.              It comes up in

 23         various designs of products and whatnot.

 24              Q    Okay.   As a general principle and holding all

 25         other things equal, do you agree or disagree that

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                                   #:5640

  1                THE VIDEOGRAPHER:       Mr. Duffner, would you be able

  2         to tilt your camera down.             You're starting to fall

  3         all the way down on the bottom of your screen.

  4                THE WITNESS:     Really?

  5                THE VIDEOGRAPHER:       Or you can just sit up.

  6                THE WITNESS:     It's like slouching.            Sorry.     How

  7         is that?

  8                MR. SMITH:     It's fine by me.            And, Mr. Duffner,

  9         be comfortable.        Feel free to slouch if you like.

 10                THE WITNESS:     Sorry.

 11         BY MR. SMITH:

 12                Q   If someone were using one of the subject

 13         chainsaws, and I'm talking pre-recall, and it binds,

 14         would you generally expect people to let up on the

 15         switch at that moment or keep pressing the switch?

 16                MR. HERLING:     Objection.        Incomplete -- or

 17         objection as to form.

 18                A   You mean that it binds in the middle of a

 19         cut?

 20         BY MR. SMITH:

 21                Q   Yeah.

 22                A   Yeah.    I would expect that you let go of the

 23         switch and you yank it out of the cut.                  At least

 24         that's what I've done.

 25                Q   Prior to the recall, do you know if it was

                                                                       Page 123

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  1         possible to physically, if one wanted to, swap out

  2         the switch -- the power switch that was in the YAT

  3         saw and the power switch that was in the SUMEC saw?

  4         So, in another way, were they interchangeable?

  5              A    I don't -- they look interchangeable, but I

  6         would have to -- no one has asked me that.                Let me

  7         look at the Power Point.          Hold on.        Are the switch

  8         contacts in the same spot?           Let me look.

  9                    They look interchangeable, yes.

 10              Q    Generally when you -- when you have a switch

 11         and you open and close it, would you expect an arc to

 12         be formed?

 13              A    That certainly happens, yes.

 14              Q    And can the arc that is formed when you open

 15         and close a switch result in heating or melting of

 16         the contacts of the switch?

 17              A    Yes.   Yeah, it can.

 18              Q    What about when a switch is in the chainsaw

 19         and it's vibrating from the chainsaw being used,

 20         could an arc be created in that scenario?

 21              A    Depends on the stiffness.              I would think the

 22         switch would be vibration rated.                So I would think

 23         probably not.     That would be pretty bad I would think

 24         to have a switch perform that way.

 25              THE REPORTER:     I'm sorry.         I didn't hear the last

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                                   #:5642

  1        STATE OF ILLINOIS         )

                                     )    ss:

  2        COUNTY OF C O O K         )

  3

  4                The within and foregoing deposition of the

  5         aforementioned witness was taken before DONNA L.

  6         POLICICCHIO, C.S.R., and Notary Public, at the place,

  7         date, and time aforementioned.

  8                There were present during the taking of the

  9         deposition the previously named counsel.

 10                The said witness was first duly sworn and was

 11         then examined upon oral interrogatories; the

 12         questions and answers were taken down in shorthand by

 13         the undersigned, acting as stenographer and Notary

 14         Public; and the within and foregoing is a true,

 15         accurate, and complete record of all of the questions

 16         asked of and answers made by the aforementioned

 17         witness, at the time and place hereinabove referred

 18         to.

 19                The signature of the witness was not waived,

 20         and the deposition was submitted, pursuant to Rules

 21         30(e) and 32(d) of the Rules of Civil Procedure for

 22         the United States District Court, to the deponent per

 23         copy of the attached letter.

 24                The undersigned is not interested in the within

 25         case, nor of kin or counsel to any of the parties.

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                                   #:5643

  1                 Witness my official signature and seal as
  2         Notary Public in and for Cook County, Illinois, on
  3         this 17th day of August, 2020.
  4
  5
  6
  7
  8
  9                        <%20071,Signature%>
                           DONNA L. POLICICCHIO, C.S.R.
10                         License No. 084-003740
                           Notary Public
11                         One North Franklin Street
                           Suite 3000
12                         Chicago, Illinois 60606
                           Phone:    (312) 442-9087
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                                                                EXHIBIT 52
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                                   #:5645

  1                   UNITED STATES DISTRICT COURT
  2                  CENTRAL DISTRICT OF CALIFORNIA
  3
  4    WILL KAUPELIS and FRANK               )
  5    ORTEGA, individually and              )
  6    on behalf of all others               )
  7    similarly situated,                   )
  8                    Plaintiffs,           )
  9          vs.                             ) Case No. 8:19-cv-01203-
10     HARBOR FREIGHT TOOLS USA,             )             JVS-DFM
11     INC.,                                 )
12                    Defendant.             )
13     ___________________________)
14
15             VIDEOTAPED DEPOSITION OF CASPER WYPYCH
16                        Van Nuys, California
17                    Wednesday, January 29, 2020
18
19     REPORTED BY:
20     Dayna Michelle Glaysher
21     CSR No. 13079
22     RPR, CRR No. 28081
23     JOB No. 3837294
24
25     PAGES 1 - 60

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                                   #:5646

  1    make sense to you?

  2       A.   You know, I don't have these documents memorized

  3    verbatim.     I would probably have to have them in front

  4    of me, and I could analyze them a little bit further.

  5    But I just recall as I sit here today that the incidents      01:52:43

  6    seemed suspect based upon the testing that I had done on

  7    this chainsaw.

  8       Q.   Okay.    But to be clear, sitting here today you're

  9    not able to provide any specifics about that?

 10       A.   Well, in the Ortega case I do believe, if I           01:52:55

 11    recall correctly, he stated that he used the saw for the

 12    first time.     And I do believe he stated for under two

 13    minutes.    And the saw continued to operate despite him

 14    letting go of the trigger.

 15            And based upon all of my testing on all of the        01:53:24

 16    saws that I have done at Harbor Freight, I never found a

 17    case that presented itself that quickly on a brand new

 18    item.

 19       Q.   How many -- how many chainsaws did you evaluate

 20    before determining that the -- let me strike that.            01:53:40

 21            So do I understand then your view, if the problem

 22    of the chainsaw not turning off was going to manifest,

 23    it would be more likely than not to happen not on the

 24    first usage but at some point later in time?

 25       A.   Based upon my testing there is a very specific        01:54:00

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  1    set of circumstances that would cause an incident like

  2    this to happen.       And the incidents described in both

  3    depositions do not meet this criteria.           And I have

  4    tested saws in the conditions described in both

  5    depositions and did not find the issue to present               01:54:21

  6    itself.

  7          Q.   Okay.   What specific conditions are you referring

  8    to?

  9          A.   Under which case?    I don't follow your question.

 10    I'm sorry.                                                      01:54:28

 11          Q.   So I think if I heard you correctly, you

 12    testified a moment ago that the -- the problem of the

 13    chainsaws not turning off would arise under specific

 14    conditions.

 15          A.   Yes.                                                 01:54:48

 16          Q.   Okay.   What are the specific conditions?

 17          A.   Specific conditions that I found the issue to

 18    present itself were under situations where the saw was

 19    under a continuous stall or stalled multiple times

 20    within a short time frame after being used for estimate         01:55:11

 21    roughly ten minutes of excessive use.

 22          Q.   What do you mean by excessive use?

 23          A.   So if you push the saw and intentionally try --

 24    push it harder than the pace that it would cut itself.

 25    Meaning if you take the chainsaw and apply a small              01:56:04

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                                   #:5648

  1    somewhere?

  2       A.   Yes, I believe it is.

  3       Q.   Okay.     And would it be relatively easy to

  4    retrieve and produce?

  5       A.   Yes.                                                             02:06:31

  6       Q.   Is there any reason it could not have been

  7    produced before today?

  8                    MR. HERLING:    Well, objection.          Calls for

  9    speculation.

 10                    You can answer.                                          02:06:40

 11                    THE WITNESS:    As I sit here today I don't

 12    know the answer to that question.

 13    BY MR. SMITH:

 14       Q.   Okay.     Okay.   Would you please take a look at the

 15    document that was previously marked Exhibit 9.                           02:07:22

 16            Have you seen Exhibit 9 before?

 17       A.   Yes, I believe so.

 18       Q.   Okay.     Was Harbor Freight able to identify the

 19    cause of the problem that's described in Exhibit 9?

 20       A.   Yes.                                                             02:08:06

 21       Q.   What was the cause of the problem?

 22       A.   The problem stemmed from the saw being used in a

 23    particular circumstance, specific circumstance.                That if

 24    the saw was subjected to what I call continuous stall or

 25    multiple stalls, the current required by the motor to                    02:08:37

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  1    turn in that specific circumstance spikes up really

  2    high, causing excess heat to build up in the electrical

  3    system.

  4       Q.     How did you determine that was the cause of the

  5    problem?                                                     02:09:02

  6       A.     Through testing product.

  7       Q.     Okay.     The 15 chainsaws that you described

  8    before?

  9       A.     Yes.

 10       Q.     Anything else?                                     02:09:13

 11       A.     No.     That is how I identified the problem.

 12       Q.     Were you the one who was primarily responsible

 13    for identifying the cause or the problem that's

 14    described in Exhibit 9?

 15       A.     Yes.                                               02:09:29

 16       Q.     Did anyone work with you on that effort?

 17       A.     I had two product testers that worked with me in

 18    testing units.

 19       Q.     And what are those people's names?

 20       A.     Tyler Hager and Brandon Yulchy.                    02:09:46

 21       Q.     Are they regular employees of Harbor Freight?

 22       A.     What do you mean by regular?

 23       Q.     Are they -- I'm just asking if they're employed

 24    by Harbor Freight.

 25       A.     Yes, they are.                                     02:10:01

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  1       Q.     Okay.   As a mechanical engineer, does the

  2    proposal that YAT made regarding the fix seem sensible

  3    to you?     I mean putting aside the testing.

  4       A.     Yes.

  5       Q.     Okay.   Have you considered any alternative              02:20:13

  6    methods to fix the problem?

  7       A.     Personally?

  8       Q.     Yes.

  9       A.     I really tried to not come up with solutions on

 10    my own, as I feel that it would have biased my opinion             02:20:35

 11    towards other opinions presented to myself.             So I did

 12    not do that.

 13       Q.     Pre-recall did the Portland 14 inch electric

 14    chainsaws have a single-pole switch installed in them?

 15       A.     Yes.                                                     02:21:13

 16       Q.     Post-recall were they made with a two-pole

 17    switch?

 18       A.     Yes.

 19       Q.     And is that part of the fix that YAT proposed?

 20       A.     Yes.                                                     02:21:26

 21       Q.     And that's a fix again that you feel is --

 22    reliably resolves the problem that's described in

 23    Exhibit 9?

 24       A.     Yes.

 25       Q.     I want to go back to some of those specific              02:21:36

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  1    circumstances that you were testifying about earlier

  2    that you believe are associated with the -- the

  3    chainsaws not turning off.      And I want to focus not on a

  4    technical level, but on -- from a practical perspective

  5    what a user would do that would likely lead to the             02:22:22

  6    problem.

  7            Is leaning into wood while you're chopping the

  8    saw one of the factors that in your view is in play?

  9       A.   Yes, that could be a contributing factor.

 10       Q.   Could be?                                              02:22:51

 11       A.   Yes.

 12       Q.   Okay.   In your view generally would the user have

 13    to be using the chainsaw for some period of time before

 14    the -- it became more likely that the chainsaw would not

 15    turn off?                                                      02:23:10

 16       A.   Based on my testing, I found that period to be

 17    roughly ten minutes.

 18       Q.   Okay.   In your view length of -- length of time

 19    is a factor that may bear on whether or not the -- the

 20    problem materialized; is that fair?                            02:23:25

 21       A.   Yes.

 22       Q.   So we've got two factors.

 23            Are there any others?

 24       A.   What two factors?

 25       Q.   Leaning in on the wood and length of time.             02:23:34

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  1       A.    I think the most important factor is the

  2    continuous stall that I had mentioned earlier.        That is

  3    the factor that really causes the amps to climb.

  4       Q.    Can you explain what you mean by the term

  5    "continuous stall"?                                             02:23:53

  6       A.    So I'm going to throw out a scenario in which a

  7    continuous stall just to make some reference here.

  8             So let's say you're using this chainsaw,

  9    light-duty chainsaw on a very large tree branch, right.

 10    I'd say just for sake of this conversation 12 inch              02:24:21

 11    diameter, right.    You start using the chainsaw.

 12             And as you start cutting into this wood and

 13    apply, you know, pressure to it, the branch will

 14    typically collapse, depending on how you're cutting it

 15    and how much weight is on the end of it.        Because as      02:24:41

 16    you're removing material, it will eventually pinch,

 17    right.

 18             So if the saw is in that situation and the wood

 19    comes and pinches on the blade to the point where it

 20    prevents the saw from rotating, if it stops rotating,           02:24:53

 21    that's a stall.

 22             And in that condition if a customer takes it and

 23    just presses a trigger repeatedly to try and get the saw

 24    to start moving again without moving it from the wood

 25    and the situation that's causing the blade to stop from         02:25:10

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  1    rotating, that continuous trigger pull and not having

  2    the motor spin is a continuous stall.

  3              In that you're applying large amounts of power to

  4    the system, but the motor is incapable of turning.         That

  5    specific set of circumstances is really what I                    02:25:28

  6    identified as the contributing factor to this problem.

  7       Q.     Okay.   Is it your view that a continuous stall is

  8    a necessary condition to have the problem materialize?

  9       A.     Based off of my testing, yes.

 10       Q.     Is that view based on anything else other than          02:25:45

 11    your testing?

 12       A.     I mean based on theories of how electronic

 13    systems operate, yeah, that was how I was able to

 14    identify it and create that test method.

 15       Q.     Okay.   Can you elaborate more on the point you         02:26:09

 16    just raised?

 17       A.     On the theoretical aspects?

 18       Q.     Yeah.

 19       A.     So theoretically if you stall a motor the

 20    amperage increases.      That's just how motors operate.     If   02:26:20

 21    you increase the load the motor continues to try and

 22    output power.      But to do that and overcome the load that

 23    you're putting on it, it will draw more power from the

 24    system.

 25              So I thought of a case where you're trying to           02:26:38

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  1    draw the absolute most possible power that you can draw

  2    out of the system, and that's under that stall case.

  3    And that's why that test method was developed and

  4    implemented in testing.

  5       Q.   Okay.     Are there any other reasons you can think   02:26:53

  6    of why you believe a continuous stall is a necessary

  7    condition for the problem described in Exhibit 9 to

  8    materialize?

  9       A.   No, not at this time.

 10       Q.   Okay.     Are there any documents you reviewed        02:27:09

 11    before you reached that conclusion that you've just

 12    described?

 13       A.   No.     These are just things that I recalled from

 14    my engineering education.

 15       Q.   Okay.     Did you express the opinion that a          02:27:25

 16    continuous stall is a prerequisite for the problem to

 17    materialize to any other non-lawyer at Harbor Freight?

 18       A.   Yes, to the two testers that I had testing the

 19    product.

 20       Q.   Did they --                                           02:27:54

 21       A.   That I mentioned earlier.

 22       Q.   I'm sorry, I didn't mean to interrupt.

 23            Did -- so that's Tyler Hager?

 24       A.   Yes.

 25       Q.   And remind me the name of the other one.              02:28:01

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  1       Q.   Where is that?

  2       A.   Under the results section, the first section.

  3       Q.   I see it.

  4            In terms of factors that in your view may lead to

  5    the chainsaws not turning off, is there anything else       02:30:29

  6    you can think of besides continuous stall, leaning into

  7    the wood or length of time that the product is used?

  8       A.   No, not at this time.

  9       Q.   Okay.   Let's go to Exhibit 36.

 10            Where did you conduct the testing that's            02:31:19

 11    described in Exhibit 36?

 12       A.   It was done at Harbor Freight's quality assurance

 13    lab.

 14       Q.   And where is that lab located?

 15       A.   In Calabasas, California.                           02:31:29

 16       Q.   In the middle of Exhibit 36 under test protocol

 17    summaries you describe testing the products on 12 to 18

 18    inch diameter Ash wood rounds.

 19            Do you see that?

 20       A.   Yes.                                                02:31:53

 21       Q.   Is there a particular reason you chose 12 to 18

 22    diameter Ash wood rounds?

 23       A.   Yes.

 24       Q.   What is the reason for that?

 25       A.   Ash wood is one of the densest woods that's         02:32:04

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  1    for that test?

  2       A.   I started with a smaller extension cord.       I can't

  3    remember the exact number of feet, but I think it was in

  4    the range of 10 to 12 feet.     And then I went and grabbed

  5    I believe our longest extension cord which we have I             02:35:23

  6    think is somewhere in the range of 40 to 50 feet.        And I

  7    measured the amp draw I recall on both of those cases.

  8       Q.   Okay.    Did you reach any conclusion about whether

  9    or not the length of the power cord used would -- was a

 10    factor in terms of the problem manifesting?                      02:35:58

 11       A.   Despite using the 40 to 50 foot cord length, I

 12    couldn't get the problem to present itself without doing

 13    those three things that I had mentioned earlier.

 14       Q.   Okay.

 15       A.   Under normal practical use I had no issues with          02:36:18

 16    the saw.

 17       Q.   When you were testing the chainsaws to try and

 18    figure out what circumstances would likely lead to the

 19    problem described in Exhibit 9, did you review customer

 20    complaints about the problem that were described to the          02:36:41

 21    CPSC or posted on Harbor Freight's website?

 22       A.   I believe the legal team showing me some customer

 23    complaints -- I'm not entirely sure where they stemmed

 24    from -- was the thing that initiated me to look into

 25    this.                                                            02:37:04

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  1       Q.   I see.

  2            And were you able to determine whether or not the

  3    factors that you described that may lead to the problem

  4    were -- were factors that were present in the various

  5    customer complaints?                                             02:37:22

  6       A.   I don't recall reading that.        But it was a very

  7    specific set of circumstances in which this failure

  8    would happen.      And I wasn't present during these

  9    customer complaints.      So I have no way of knowing

 10    whether or not this happened while they were using it.           02:37:41

 11       Q.   Okay.     So the very specific set of circumstances

 12    that you described that you found apply to the testing

 13    you did.

 14            But you can't say whether or not those

 15    circumstances were also present with the various                 02:37:55

 16    consumers who complained about the chainsaws?

 17       A.   I don't recall reading that in the complaints

 18    that they have.      I -- this was a while ago that I read

 19    them.   I'm sorry, I don't remember them verbatim.         But

 20    I -- I don't recall.                                             02:38:15

 21       Q.   Okay.

 22       A.   Do you mind if we take a break to use the

 23    restroom?

 24       Q.   Absolutely.     Thank you for asking.

 25                    THE VIDEOGRAPHER:   We are going off the         02:38:30

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  1       Q.   Okay.    And then for the stall testing what did

  2    you do differently?

  3       A.   So the stall testing I did initially on a dyno.

  4    So you take the blade off and you mount the motor

  5    directly to the dyno.      And you can control the load       02:50:14

  6    much -- much more accurately than you can by trying to

  7    set up a situation where the blade gets pinched exactly

  8    the same time every time.      It's much more repeatable.

  9       Q.   I see.

 10            Would you mind taking a look at the document that     02:50:58

 11    was previously marked Exhibit 20.

 12            Why don't you just take a moment to review it and

 13    let me know when you've had an adequate opportunity to

 14    do that.

 15       A.   Yeah.                                                 02:53:10

 16       Q.   Okay.    I want to draw your attention to the email

 17    at the top of the first page of Exhibit 20.

 18            That's an email from you to Jason Sprong,

 19    correct?

 20       A.   Yes.                                                  02:53:29

 21       Q.   Okay.    And in that email you say, "In practical

 22    use testing, we are easily getting over 15 amps while

 23    the saw is in use."

 24            Do you see that?

 25       A.   Yes.                                                  02:53:39

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  1       Q.   Did I read it correctly?

  2       A.   Yes.

  3       Q.   What was significance of that point?

  4            Why was it important for you to convey that

  5    information to Jason Sprong?                                02:53:52

  6       A.   Mostly because of the point made previously in

  7    the previous email where he -- was it -- the vice

  8    general manager of SUMEC states under section 1 of the

  9    email, "Yes, it's easy to increase the amperage goes

 10    over the switch rating on the testing bench but it's        02:54:14

 11    very difficult on cutting."

 12            That was to address that point.

 13       Q.   When you say, "We are easily getting over 15 amps

 14    while the saw is in use," does that have any bearing on

 15    whether or not the chainsaws were likely to exhibit the     02:54:43

 16    problem of not turning off?

 17       A.   Yeah.     So the subsection one, the practical

 18    testing that I'm referring to is the stall testing and

 19    where the saw would bog down and the blade would stop

 20    rotating.      In that instance I was getting the saw to    02:55:05

 21    come over 15 amps and draw power.

 22       Q.   And was the switch that was installed in the

 23    pre-recall chainsaws not rated to exceed 15 amps?

 24       A.   I believe the rating of that switch was 15 amps

 25    at 125 volts.                                               02:55:36

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  1       Q.   I want to draw your attention to the second page

  2    of Exhibit 20.

  3            There's a -- you see an email from Jason Sprong

  4    at the top of the second page, correct?

  5       A.   Correct.                                               02:56:15

  6       Q.   Okay.    Three lines down from that email he says,

  7    "The problems that arise happen when the tool draws

  8    amperage above the rating on the switch causing the

  9    electrical loop to fuse and the tool remain on."

 10            Do you see that?                                       02:56:30

 11       A.   Yes.

 12       Q.   Did I read that correctly?

 13       A.   Yes.

 14       Q.   Do you believe that's a true or a false

 15    statement?                                                     02:56:36

 16       A.   Yes, I believe that's a true statement.

 17       Q.   And below that there's an image.

 18            Is that a picture of a dynograph test?

 19       A.   There are two.     The one on the right is a picture

 20    of a dynamometer test.                                         02:57:05

 21       Q.   Dynamometer.     Okay.   Thank you.

 22            Do you know if the image of the test, the

 23    dynamometer test is -- came from you?

 24       A.   Yes, it did.

 25       Q.   Do you have in your files any records or files         02:57:19

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  1               Certification of Court Reporter
  2                          Federal Jurat
  3
  4             I, the undersigned, a Certified Shorthand
  5    Reporter of the State of California do hereby certify:
  6             That the foregoing proceedings were taken before
  7    me at the time and place herein set forth; that any
  8    witnesses in the foregoing proceedings, prior to
  9    testifying, were placed under oath; that a verbatim
10     record of the proceedings was made by me using machine
11     shorthand which was thereafter transcribed under my
12     direction; further, that the foregoing is an accurate
13     transcription thereof.
14              That before completion of the deposition, a
15     review of the transcript [ ] was [ ] was not requested.
16              I further certify that I am neither financially
17     interested in the action nor a relative or employee of
18     any attorney of any of the parties.
19              IN WITNESS WHEREOF, I have this date subscribed
20     my name this 5th day of February, 2020.
21
22
                <%15041,Signature%>
23              Dayna Michelle Glaysher
24              CSR Number 13079
25              RPR, CRR Number 28081

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                                                                EXHIBIT 54
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 8                                  UNITED STATES DISTRICT COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
10

11    WILL KAUPELIS and FRANK ORTEGA,                      Case No. 8:19-cv-1203
      individually and on behalf of all others similarly
12    situated,
                                                           PLAINTIFFS’ FIRST SET OF
13                                        Plaintiffs,      INTERROGATORIES
14           v.
15    HARBOR FREIGHT TOOLS USA, INC.,
16                                        Defendant.
17

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      PLAINTIFF’S FIRST SET OF ROGS; CASE NO. 8:19-CV-1203
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 1
 2           Pursuant to Federal Rules of Civil Procedure 33, Plaintiff requests that Defendant Harbor
 3    Freight Tools, USA respond to the following Interrogatories within the time allowed by law.
 4                                              DEFINITIONS
 5           The following definitions and instructions are incorporated by reference whenever
 6    applicable in this document:
 7           1.      The terms “ADVERTISEMENTS” and “ADVERTISING” shall mean ANY
 8    labeling, package inserts, web pages (including metatags used for the purpose of search engine
 9    optimization or otherwise directing web traffic), radio or television broadcasts, telephone
10    marketing, point of sale or internet displays, infomercials, brochures, or magazine, newspaper or
11    ANY other print or electronic media.
12           2.      The term “CHALLENGED PRODUCTS” means the Portland, One Stop Gardens,
13    and Chicago Electric 14-inch Electric Chainsaws described in Exhibit A to the CUGINI
14    DECLARATION.
15           1.      The term “CLASS PERIOD” shall mean June 17, 2015, through May 1, 2018.
16           2.      The term “CUGINI DECLARATION” means the Declaration of Danielle R.
17    Cugini, filed in Olmos v. Harbor Freight Tools USA, Inc., N.D. Cal. Case No. 3:18-cv-04986-SK
18    on October 1, 2018, Docket No. 14-1.
19           3.      The term “DEFENDANT,” “YOU” or “YOUR” shall mean Harbor Freight Tools
20    U.S.A., Inc., including any person or entity acting on its behalf, such as, but not limited to, agents,
21    employees, or other representatives.
22           4.      The terms “IRI DATA” and “NIELSEN DATA” shall mean Information Resources,
23    Inc. (“IRI”), the Nielsen Company, or any other data reporting service from which similar types of
24    sales data and/or consumer research is available.
25           5.      The term “SKU,” or stock keeping unit, shall be construed to mean the product
26    identification code or unique identifier that distinguishes a product from other items for the
27    purposes of stock keeping and inventory tracking, such as a UNIVERSAL PRODUCT CODE
28    (“UPC”).


      PLAINTIFF’S FIRST SET OF ROGS; CASE NO. 3:18-cv-04986                                                 1
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 1           6.      The term “UNIVERSAL PRODUCT CODE” or “UPC” means a unique barcode
 2    and number obtained by the product manufacturer from the Global Standards Organization that is
 3    printed on retail product packaging used to scan products at the point of sale.
 4                                          INTERROGATORIES
 5           1.      State YOUR net revenue from the sale of CHALLENGED PRODUCTS in the
 6    United States during the CLASS PERIOD. If YOU rely on Rule 33(d) in responding to an
 7    Interrogatory, you must produce documents with YOUR written responses to these interrogatories
 8    and identify in YOUR written responses the specific Bates Number(s) and any other information
 9    necessary for Plaintiff to locate the responsive information as easily as YOU could. E.g., GCIU-
10    Employer Ret. Fund v. Quad/Graphics, 2017 WL 10399497, at *2 (C.D. Cal. Feb. 9, 2017)
11    (ordering defendant who relied on Rule 33(d) to provide written responses that “adequately specify
12    the documents (and, as necessary, the basic methodology for using those documents)” so that
13    plaintiff could locate responsive information); Rainbow Pioneer No. 44-18-04A v. Hawaii-Nevada
14    Inv. Corp., 711 F.2d 902, 906 (9th Cir. 1983) (Rule 33(d) “was amended in 1980 to prevent abuse
15    of the business record option” by requiring written responses to “specify where in the records the
16    answers could be found.”).
17           2.      State YOUR net revenue from the sale of CHALLENGED PRODUCTS in
18    California during the CLASS PERIOD. If YOU rely on Rule 33(d) in responding to an
19    Interrogatory, you must produce documents with YOUR written responses to these interrogatories
20    and identify in YOUR written responses the specific Bates Number(s) and any other information
21    necessary for Plaintiff to locate the responsive information as easily as YOU could.
22           3.      State the number of units of CHALLENGED PRODUCTS sold to consumers in the
23    United States during the CLASS PERIOD. If YOU rely on Rule 33(d) in responding to an
24    Interrogatory, you must produce documents with YOUR written responses to these interrogatories
25    and identify in YOUR written responses the specific Bates Number(s) and any other information
26    necessary for Plaintiff to locate the responsive information as easily as YOU could.
27           4.      State the number of units of CHALLENGED PRODUCTS sold to consumers in
28    California during the CLASS PERIOD. If YOU rely on Rule 33(d) in responding to an

      PLAINTIFFS’ FIRST SET OF ROGS; CASE NO. 3:18-cv-04986                                                2
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 1    Interrogatory, you must produce documents with YOUR written responses to these interrogatories
 2    and identify in YOUR written responses the specific Bates Number(s) and any other information
 3    necessary for Plaintiff to locate the responsive information as easily as YOU could.
 4           5.      State the total number of people in the United States who received a replacement
 5    unit in connection with the recall program described in Paragraph 4 of the CUGINI
 6    DECLARATION. If YOU rely on Rule 33(d) in responding to an Interrogatory, you must produce
 7    documents with YOUR written responses to these interrogatories and identify in YOUR written
 8    responses the specific Bates Number(s) and any other information necessary for Plaintiff to locate
 9    the responsive information as easily as YOU could.
10           6.      State the total number of people in California who received a replacement unit in
11    connection with the recall program described in Paragraph 4 of the CUGINI DECLARATION. If
12    YOU rely on Rule 33(d) in responding to an Interrogatory, you must produce documents with
13    YOUR written responses to these interrogatories and identify in YOUR written responses the
14    specific Bates Number(s) and any other information necessary for Plaintiff to locate the responsive
15    information as easily as YOU could.
16           7.      State the total number and value of gift cards that were given in connection with the
17    recall program, as described in Paragraph 8 of the CUGINI DECLARATION. If YOU rely on
18    Rule 33(d) in responding to an Interrogatory, you must produce documents with YOUR written
19    responses to these interrogatories and identify in YOUR written responses the specific Bates
20    Number(s) and any other information necessary for Plaintiff to locate the responsive information as
21    easily as YOU could.
22           8.      Among the gift cards described in Paragraph 8 of the CUGINI DECLARATION,
23    state the total number and value of gift cards that have been redeemed to date. If YOU rely on
24    Rule 33(d) in responding to an Interrogatory, you must produce documents with YOUR written
25    responses to these interrogatories and identify in YOUR written responses the specific Bates
26    Number(s) and any other information necessary for Plaintiff to locate the responsive information as
27    easily as YOU could.
28           9.      State the total number of customers who received “cash refunds or separate product

      PLAINTIFFS’ FIRST SET OF ROGS; CASE NO. 3:18-cv-04986                                                3
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 66 of 122 Page ID
                                   #:5671


 1    exchanges” in lieu of a gift card, as described in Paragraph 8 of the CUGINI DECLARATION. If
 2    YOU rely on Rule 33(d) in responding to an Interrogatory, you must produce documents with
 3    YOUR written responses to these interrogatories and identify in YOUR written responses the
 4    specific Bates Number(s) and any other information necessary for Plaintiff to locate the responsive
 5    information as easily as YOU could.
 6           10.     Identify, by company name, address and (if applicable) website, all third parties
 7    responsible for the design or printing of the packaging of the CHALLENGED PRODUCTS during
 8    the CLASS PERIOD.
 9           11.     Identify by name and part number, all component parts that YOU determined were a
10    cause or potential cause for the “safety hazard” associated with the CHALLENGED PRODUCTS,
11    as described in Paragraph 2 of the CUGINI DECLARATION.
12
      Dated: August 7, 2019                                Respectfully submitted,
13
                                                           BURSOR & FISHER, P.A.
14

15
                                                           By:       /s/ Joel D. Smith
16                                                                       Joel D. Smith

17                                                         L. Timothy Fisher (State Bar No. 191626)
                                                           Joel D. Smith (State Bar No. 244902)
18                                                         Blair E. Reed (State Bar No. 316791)
                                                           1990 North California Blvd., Suite 940
19                                                         Walnut Creek, CA 94596
20                                                         Telephone: (925) 300-4455
                                                           Facsimile: (925) 407-2700
21                                                         Email: ltfisher@bursor.com
                                                                   jsmith@bursor.com
22                                                                 breed@bursor.com
23                                                         Counsel for Plaintiffs
24

25

26

27

28

      PLAINTIFFS’ FIRST SET OF ROGS; CASE NO. 3:18-cv-04986                                              4
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 67 of 122 Page ID
                                   #:5672




                                                                EXHIBIT 55
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 68 of 122 Page ID
                                   #:5673
     1                  UNITED STATES DISTRICT COURT

     2                 CENTRAL DISTRICT OF CALIFORNIA

     3                        SOUTHERN DIVISION

     4

     5    WILL KAUPELIS AND FRANK   )
          ORTEGA, INDIVIDUALLY AND  )
     6    ON BEHALF OF ALL OTHERS   )
          SIMILARLY SITUATED        )
     7                              )
                      Plaintiffs,   )
     8                              )
                      vs.           ) Case No.
     9                              ) 8:19-cv-01203-JVS-DFM
          HARBOR FREIGHT TOOLS USA, )
    10    INC.                      )
                                    )
    11                Defendant.    )
                                    )
    12

    13

    14

    15

    16                (CONTAINS CONFIDENTIAL MATERIAL)

    17               Videotaped deposition of FRANK ORTEGA,

    18         taken on behalf of Defendant, at 2029

    19         Century Park East, Suite 3100, Los Angeles,

    20         California, 90067, commencing at 9:06 A.M.,

    21         Tuesday, November 5, 2019, before Kyoko

    22         Jacobson, Certified Shorthand Reporter,

    23         Certificate No. 6920.

    24

    25



                                             2
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 69 of 122 Page ID
                                   #:5674
         1      Q      And did you take it out of the box?

         2      A      Prior to using it?

         3      Q      When you -- no.     When you first got home.

         4      A      No.    Because I had to do other stuff around

09:54    5   the house.

         6      Q      So -- so my next question is then between

         7   the time you bought it, when was the -- how long of a

         8   time elapsed between the time that you used it?

         9      A      Probably between two to three days.

09:55   10      Q      Okay.   And so now we are at the two- to

        11   three-day period.      Did you take it out of the box?

        12      A      After the third day, yes.

        13      Q      All right.    And did you read the owner's

        14   manual?

09:55   15      A      I assume so, yes.

        16      Q      When you say you assume so, is that your

        17   normal practice to review owner's manuals on products

        18   that you buy before you use them?

        19      A      Yes.

09:55   20      Q      And in the owner's manual did you -- do you

        21   recall anything that surprised you when you read the

        22   owner's manual?

        23      A      No.

        24      Q      So what did you do with the box after you --

09:55   25   oh, by the way, describe for me what the box looked



                                             52

                                        FRANK ORTEGA
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 70 of 122 Page ID
                                   #:5675
         1   like.

         2      A       In what detail?   Square box with the item

         3   inside, paper, cellophane.     That's it.

         4      Q       And how long was the box?

09:55    5      A       I would say between 2 to 3 feet --

         6      Q       Okay.

         7      A       -- by another foot, foot and a half.

         8      Q       And was it -- was it a rectangle or was the

         9   box different dimensions?

09:56   10      A       I believe it was a rectangle.

        11      Q       And do you recall any of the writings on the

        12   package, the outside package?

        13      A       Besides the name of the chain saw on the

        14   box, no.

09:56   15      Q       And was there anything that you saw on that

        16   packaging that you said, "Oh, this is why I'm going

        17   to buy this because of what it says on the -- on the

        18   box"?

        19      A       No.

09:56   20      Q       So you opened it up.     What did you do with

        21   the packaging?

        22      A       Put it in the recycle bin when I was done

        23   taking out the chain saw.

        24      Q       Okay.   Did you -- did you do -- did you also

09:56   25   throw away the receipt you got from the store?



                                            53

                                       FRANK ORTEGA
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                                   #:5676
     1                 DEPOSITION OFFICER'S CERTIFICATE

     2    STATE OF CALIFORNIA   )
                                ) ss.
     3    COUNTY OF LOS ANGELES )

     4

     5

     6               I, Kyoko Jacobson, hereby certify:

     7               I am a duly qualified Certified Shorthand

     8    Reporter in the State of California, holder of

     9    Certificate Number CSR 6970 issued by the Certified Court

    10    Reporters' Board of California and which is in full

    11    force and effect.      (Fed. R. Civ. P. 28(a)(1)).

    12               I am authorized to administer oaths or

    13    affirmations pursuant to California Code of Civil

    14    Procedure, Section 2093(b) and prior to being examined,

    15    the witness was first duly sworn by me.          (Fed. R. Civ.

    16    P. 28(a)(a)).

    17               I am not a relative or employee or attorney or

    18    counsel of any of the parties, nor am I a relative or

    19    employee of such attorney or counsel, nor am I

    20    financially interested in this action.          (Fed. R. Civ. P.

    21    28).

    22               I am the deposition officer that

    23    stenographically recorded the testimony in the foregoing

    24    deposition and the foregoing transcript is a true record

    25                                   / / /



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                                      FRANK ORTEGA
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 72 of 122 Page ID
                                   #:5677
     1    of the testimony given by the witness.          (Fed. R. Civ. P.

     2    30(f)(1)).

     3               Before completion of the deposition, review of

     4    the transcript [xx] was [       ] was not requested.       If

     5    requested, any changes made by the deponent (and

     6    provided to the reporter) during the period allowed, are

     7    appended hereto.      (Fed. R. Civ. P. 30(e)).

     8

     9    Dated: December 3, 2019

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                                      FRANK ORTEGA
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 73 of 122 Page ID
                                   #:5678




                                                                EXHIBIT 56
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 74 of 122 Page ID
                                   #:5679
     1                 UNITED STATES DISTRICT COURT

     2                 CENTRAL DISTRICT OF CALIFORNIA

     3                         SOUTHERN DIVISION

     4                             ---o0o---

     5

     6

     7
                WILL KAUPELIS AND FRANK ORTEGA,        )
     8          individually and on behalf of          )
                all others similarly situated,         )
     9                                                 )
                                    Plaintiffs,        )    Case No.
    10                                                 )    8:19-CV-1203-
                         vs.                           )    JVS-DFM
    11                                                 )
                HARBOR FREIGHT TOOLS USA, INC.,        )
    12                                                 )
                                    Defendant.         )
    13                                                 )

    14

    15

    16
                                   ---o0o---
    17
                           THURSDAY, MAY 28, 2020
    18

    19            ZOOM VIDEO DEPOSITION OF COLIN B. WEIR

    20                             ---o0o---

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    22

    23

    24    REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR
          464214
    25
                            BARKLEY 114-3
Case 8:19-cv-01203-JVS-DFM Document COURT Filed
                                           REPORTERS        2 75 of 122 Page ID
                                                09/08/20 Page
                                    #:5680
         1       A.   It was some time after I signed my report.

         2       Q.   Why didn't you amend your report to

         3   identify other documents that you reviewed?

         4       A.   The precise nature of the recall has no

10:51    5   bearing on my calculation of economic damages, so I

         6   didn't believe that it warranted some sort of

         7   additional amendment or supplement to my report.

         8            I am controlling for the people that do

         9   avail themselves of the recall as part of my

10:51   10   damages calculus.   I think that would be relevant.

        11   But otherwise the precise nature of the recall or

        12   who initiated it doesn't really change the damages

        13   calculus on a class-wide basis in any way.

        14       Q.   You just opined that the recall may have

10:51   15   met minimum requirements.    My request to you is:

        16   Other than reviewing Ms. Suchini's declaration, do

        17   you have any other basis for that statement?

        18       A.   It might have come up in conversations

        19   with counsel.

10:52   20       Q.   Other than counsel, do you have any other

        21   basis for that statement?

        22       A.   Not that I can think of as I sit here

        23   today, but I may have seen something else along the

        24   way.

10:52   25       Q.   Well, when you say you may have seen
                          BARKLEY COURT REPORTERS


                                            19

                                      COLIN B. WEIR
                            BARKLEY 114-3
Case 8:19-cv-01203-JVS-DFM Document COURT Filed
                                           REPORTERS        2 76 of 122 Page ID
                                                09/08/20 Page
                                    #:5681
         1   or you are sitting across the table from me?

         2       A.    Correct.    We use one flat rate for all the

         3   work in the case.

         4       Q.    Okay.   I apologize.    I should have asked

12:09    5   you this before.     If you can go back to your

         6   report.   And it starts on the -- Paragraph 44.       It

         7   starts on Page 10.

         8       A.    Okay.   I'm with you there.

         9       Q.    You have various tables that you described

12:09   10   that are entitled "Unit Sales" and "Dollar Sales."

        11   Could you tell me the methodology that you used to

        12   develop these tables?

        13       A.    I'll give you the high level, and if you

        14   want to drill down, feel free.

12:10   15             But largely I took defendant's regular

        16   sales data on a state-by-state basis and analyzed

        17   for -- each of these tables represents a different

        18   proposed class, analyzed the range of dates for

        19   each state that were applicable for that class, as

12:10   20   I was informed by counsel, and I took gross retail

        21   sales minus returns in order to get net sales.        I

        22   added to that online sales on a net basis and

        23   subtracted from that amounts paid out as part of

        24   the recall.

12:10   25             So this is basically net, net, net sales,
                           BARKLEY COURT REPORTERS


                                              66

                                        COLIN B. WEIR
                            BARKLEY 114-3
Case 8:19-cv-01203-JVS-DFM Document COURT Filed
                                           REPORTERS        2 77 of 122 Page ID
                                                09/08/20 Page
                                    #:5682
         1   both in units and dollars.

         2       Q.   As it relates to the Internet sales, were

         3   you able -- how did -- were you able to earmark

         4   Internet sales in California by looking at the

12:11    5   documents that you received?

         6       A.   My recollection is yes.

         7       Q.   Okay.   So you didn't have to do anything

         8   beyond evaluating the materials that were sent to

         9   you?   You didn't have to go out to try to contract

12:11   10   with Nielsen or somebody like that to figure out

        11   what the Internet sales were per state?

        12       A.   Again, my best recollection is that the

        13   data from defendant did specify its sales both

        14   retail and online on a state-by-state basis, not

12:11   15   per se in a manner that aligned with the class

        16   definitions.   So there was work there to match up

        17   states to the class definitions and then match up

        18   the different dates for each relevant state for

        19   each proposed class or subclass.

12:11   20       Q.   Okay.   Any other methodologies that we

        21   haven't discussed that you did in order to come up

        22   with these numbers?

        23       A.   In terms of totaling the sales, that's a

        24   high-level approach that I took.     There's all of

12:12   25   the information behind the conjoint work that will
                          BARKLEY COURT REPORTERS


                                            67

                                      COLIN B. WEIR
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 78 of 122 Page ID
                                   #:5683
     1                 DEPOSITION OFFICER'S CERTIFICATE

     2    STATE OF CALIFORNIA     )
                                  ) ss.
     3    COUNTY OF SAN FRANCISCO )

     4

     5

     6              I, BALINDA DUNLAP, hereby certify:

     7              I am a duly qualified Certified Shorthand

     8    Reporter in the State of California, holder of

     9    Certificate Number CSR 10710 issued by the Certified Court

    10    Reporters' Board of California and which is in full

    11    force and effect.     (Fed. R. Civ. P. 28(a)(1)).

    12              I am authorized to administer oaths or

    13    affirmations pursuant to California Code of Civil

    14    Procedure, Section 2093(b) and prior to being examined,

    15    the witness was first duly sworn by me.         (Fed. R. Civ.

    16    P. 28(a)(a)).

    17              I am not a relative or employee or attorney or

    18    counsel of any of the parties, nor am I a relative or

    19    employee of such attorney or counsel, nor am I

    20    financially interested in this action.         (Fed. R. Civ. P.

    21    28).

    22              I am the deposition officer that

    23    stenographically recorded the testimony in the foregoing

    24    deposition and the foregoing transcript is a true record

    25                                / / /
                         BARKLEY COURT REPORTERS


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                                      COLIN B. WEIR
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 79 of 122 Page ID
                                   #:5684
     1     of the testimony given by the witness.         (Fed. R. Civ. P.

     2     30(f)(1)).

     3                Before completion of the deposition, review of

     4     the transcript [XX] was [       ] was not requested.      If

     5     requested, any changes made by the deponent (and

     6     provided to the reporter) during the period allowed, are

     7     appended hereto.     (Fed. R. Civ. P. 30(e)).

     8

     9     Dated: 06/08/20

    10

    11                                     ______________________________

    12

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                         BARKLEY COURT REPORTERS


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                                      COLIN B. WEIR
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 80 of 122 Page ID
                                   #:5685




                                                                EXHIBIT 57
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 81 of 122 Page ID
                                   #:5686

  1                      UNITED STATES DISTRICT COURT
  2                     CENTRAL DISTRICT OF CALIFORNIA
  3
  4    WILL KAUPELIS and FRANK ORTEGA, ) Case No.: 8:19-cv-
       individually and on behalf of                  ) 012203-JVS-DFM
  5    all others similarly situated,                 )
                                                      )
  6                        Plaintiffs,                )
                                                      )
  7               vs.                                 )
                                                      )
  8    HARBOR FREIGHT TOOLS USA,                      )
       INC.,                                          )
  9                                                   )
                           Defendant.                 )
10     ________________________________)
11
12
13
14             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF
15                             JOSEPH MOHOROVIC
16                             Aurora, Illinois
17                         Friday, August 14, 2020
18
19
20
21     Reported by:
22     JANA J. BOMMARITO
23     CSR No. 10880
24     Job No. 4207173
25

                                                                  Page 1

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                                     866 299-5127
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 82 of 122 Page ID
                                   #:5687

  1    general?

  2          A    I would say in general, yes.

  3          Q    Did you do anything to determine whether

  4    Harbor Freight's efforts to publicize the chainsaw

  5    recall were comparable to what a class action                 11:04

  6    administrator could do to notify customers about the

  7    recall?

  8          A    I did evaluate the activities of Harbor

  9    Freight Tools with regards to the CPSC recall, both

 10    their -- their activities, as well as the results of          11:04

 11    those activities, but I would be unable to provide a

 12    fair comparison without knowing fully what the --

 13    the roles and the contributions of what a class

 14    action administrator might do, require, or

 15    deliver.                                                      11:05

 16          Q    And you didn't conduct that analysis that

 17    you just described?

 18          A    No, I did not.

 19          Q    Would paying for an advertisement on

 20    Facebook be a reasonable measure to notify customers          11:05

 21    about a recall?

 22          A    The use of social media in recalls was a

 23    part of this case.    To the best of my recollection,

 24    you mentioned specifically Mr. Smith paying for

 25    advertisements on Facebook.      And whether or not that      11:05

                                                                  Page 52

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Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 83 of 122 Page ID
                                   #:5688

  1          THE VIDEOGRAPHER:     Off the record.          The time is

  2    11:27 a.m.

  3                 (Brief recess taken.)

  4          THE VIDEOGRAPHER:     Back on the record.          The

  5    time is 11:43 a.m.                                                   11:43

  6    BY MR. SMITH:

  7          Q      In -- at various places in your report,

  8    which I believe has been marked Exhibit 95, you

  9    discuss different types of correction rates.

 10                 Does that ring a bell for you?                          11:43

 11          A      It does.

 12          Q      Okay.   And one type of correction rate you

 13    describe is called an overall correction rate; is

 14    that correct?

 15          A      That is correct.                                        11:43

 16          Q      What does overall correction rate mean?

 17          A      In using the -- the jargon of the CPSC --

 18    and a more thorough deck in support of this is

 19    provided in my materials reviewed should you want to

 20    take a closer look and investigate it.                               11:43

 21                 The CPSC looks at it along -- looks at

 22    recall return rates along -- along multiple lines;

 23    at the manufacturer, the retailer, the distributor,

 24    and at the consumer level.

 25          Q      Okay.   And overall correction rate                     11:44

                                                                          Page 69

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Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 84 of 122 Page ID
                                   #:5689

  1    encompasses all of those categories that you just

  2    described?

  3            A    Thank you.   Yes, it does.

  4            Q    Okay.   And is one subcategory -- I think

  5    you mentioned the retail level correction rate.                11:44

  6                 Did I hear that correctly?

  7            A    That is correct.

  8            Q    What does retail level correction rate

  9    mean?

 10            A    That would be the product that is in              11:44

 11    possession of the retailer.        And when they -- when a

 12    firm conducting a recall does its monthly progress

 13    report, it has to enumerate corrections by all of

 14    those individual levels.        So if I were advising a

 15    firm how to fill out their entry -- let me just be             11:45

 16    more specific with this case.

 17                 If a retailer is -- if this is a -- a

 18    priv- -- a private branded item where the retailer

 19    is in the capacity of the manufacturer as well as

 20    the retailer, they might put it in either one of               11:45

 21    those two buckets in terms of corrective product

 22    subject to the recall.

 23            Q    Does the term "consumer level correction

 24    rate" mean anything?

 25            A    Yes, it does.                                     11:45

                                                                    Page 70

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                                      866 299-5127
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 85 of 122 Page ID
                                   #:5690

  1          Q    What does it mean?

  2          A    That means that the product that was

  3    delivered to consumers that was remedied.

  4          Q    Is that a -- another way of saying -- is

  5    consumer level correction another way of saying a             11:46

  6    return of the product?

  7          A    I noticed that -- the use of the word

  8    "return" in the Complaint, and I don't find that

  9    inaccurate.    I just believe in my -- my experience,

 10    my expertise at the CPSC to be not a complete                 11:46

 11    picture of the correction rate.

 12               But I wouldn't disagree that -- to call --

 13    while it's not a term that's used in the CPSC or I

 14    said the product safety community generally

 15    speaking, if you were to return -- refer to the               11:46

 16    product that was distributed to consumers subject to

 17    the corrective action and remedied, to call that a

 18    return rate because return would -- would seem to

 19    mean product that got out and came back, I don't

 20    think that would be inaccurate to substitute that             11:46

 21    terminology.

 22          Q    Okay.   The consumer level correction rate

 23    does not equal the percentage of people who may have

 24    received refunds; is that correct?

 25          A    It would include -- it -- it would include         11:47

                                                                  Page 71

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                                     866 299-5127
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 86 of 122 Page ID
                                   #:5691

  1    both.

  2            Q   Okay.    Both what?

  3            A   So if you're saying would the return rate

  4    also include those who availed themselves of the

  5    remedy but didn't actually return the product, I              11:47

  6    would say -- or if I was asked in support of a

  7    client how should we count this, perhaps the

  8    consumer said, "Well, I know I'm supposed to return

  9    the product to -- to be able to get the remedy.       I

 10    don't have it.      I threw it away," the file in this        11:47

 11    matter does contain circumstances where consumers

 12    were able to produce other evidence of their

 13    purchase and then they were provided either the

 14    replacement saw, in some -- in some cases they were

 15    provided a refund, then I would advise that that              11:48

 16    would be still counted towards the rem- -- the

 17    remedies associated at the consumer level.

 18            Q   Does -- let me -- let me try asking the

 19    question a different way because I don't --

 20            A   Okay.                                             11:48

 21            Q   I'm not sure that quite got it.

 22                The -- you have a certain consumer

 23    correction rate.      Let me -- strike that.

 24                Is there a -- have you determined what the

 25    consumer level correction rate was in this case?              11:48

                                                                  Page 72

                                 Veritext Legal Solutions
                                      866 299-5127
Case 8:19-cv-01203-JVS-DFM Document 114-3 Filed 09/08/20 Page 87 of 122 Page ID
                                   #:5692

  1          A    I believe it's in my report.

  2          Q    Okay.   I'll direct your attention to

  3    Exhibit 95, Page 25, Footnote 61.        And near the

  4    bottom of that footnote, there's a reference to a

  5    consumer level correction rate of 6.6 percent.                11:49

  6               Do you see that?

  7          A    I do.   Thank you.

  8          Q    Is that your understanding of what the

  9    consumer level correction rate was in this

 10    particular case?                                              11:49

 11          A    Yes, it is.

 12          Q    Okay.   That 6.6 percent includes some

 13    people who may have refeed -- received refunds; is

 14    that correct?

 15          A    That's my understanding.                           11:49

 16          Q    Okay.   But you're not saying that 6.6

 17    percent of the people who fall within the category

 18    of consumer level correction rate all received

 19    refunds.

 20               Do I understand that correctly?                    11:49

 21          A    That's correct.

 22          Q    Okay.   So some percentage smaller than 6.6

 23    percent reflects the number of people who may have

 24    received a refund in connection with the recall; is

 25    that correct?                                                 11:50

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  1            A   It is correct.   And I would even go

  2    further to describe that the remedy that was -- that

  3    was recommended by the CPSC in part of the

  4    Corrective Action Plan was a replacement, so I would

  5    expect that that percentage to be small.            However, I     11:50

  6    don't recall seeing a breakdown of that in the

  7    file.

  8            Q   Do you know how many Harbor Freight

  9    customers returned their chainsaws in connection

 10    with the recall?                                                   11:50

 11            A   I would -- no, I do not.       I would say that

 12    this is a percentage of what I recognize in the file

 13    as 62,971 consumers who have availed themselves of

 14    the Corrective Action Plan and it would be a

 15    percentage of those consumers.                                     11:50

 16            Q   Okay.   And do you know how many people --

 17    how many Harbor Freight customers got a refund in

 18    connection with the recall?

 19            A   No, I do not.

 20            Q   Bear with me a moment.      I'm just marking           11:51

 21    another exhibit.

 22                Okay.   You should have available to you

 23    now Exhibit 96.

 24                (Whereupon Exhibit 96 was marked for

 25    identification, a copy of which is attached hereto.)               11:52

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  1                            CERTIFICATION OF
  2                    CERTIFIED SHORTHAND REPORTER
  3
  4                  I, the undersigned, a Certified Shorthand
  5    Reporter of the State of California do hereby
  6    certify:
  7                  That the foregoing proceedings were taken
  8    before me at the time and place herein set forth;
  9    that any witnesses in the foregoing proceedings,
10     prior to testifying, were placed under oath; that a
11     verbatim record of the proceedings was made by me
12     using machine shorthand, which was thereafter
13     transcribed under my direction; further, that the
14     foregoing is an accurate transcription thereof.
15                   That upon completion, a review of the
16     transcript was [X] was not [ ] requested.
17                   I further certify that I am neither
18     financially interested in the action nor a relative
19     or employee of any attorney of any of the parties.
20                   IN WITNESS WHEREOF, I have this date
21     subscribed my name this 24th day of August, 2020.
22
23                               <%14996,Signature%>
24                               Jana Bommarito,
25                               CSR No. 10880

                                                                Page 211

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                                                                EXHIBIT 58
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                                   #:5696

  1                   UNITED STATES DISTRICT COURT
  2                  CENTRAL DISTRICT OF CALIFORNIA
  3
  4    WILL KAUPELIS and FRANK               )
  5    ORTEGA, individually and              )
  6    on behalf of all others               )
  7    similarly situated,                   )
  8                    Plaintiffs,           )
  9          vs.                             ) Case No. 8:19-cv-01203-
10     HARBOR FREIGHT TOOLS USA,             )             JVS-DFM
11     INC.,                                 )
12                    Defendant.             )
13     ___________________________)
14
15             VIDEOTAPED DEPOSITION OF DANIELLE CUGINI
16                        Van Nuys, California
17                    Wednesday, January 29, 2020
18
19     REPORTED BY:
20     Dayna Michelle Glaysher
21     CSR No. 13079
22     RPR, CRR No. 28081
23     JOB No. 3837294
24
25     PAGES 1 - 129

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  1       Q.   Is there any reason why Harbor Freight didn't

  2    just issue them a refund since it knew they bought the

  3    product and they knew how to contact them?

  4       A.   So the important thing in a recall, particularly

  5    one pertaining to a safety hazard, is that you actually          11:36:05

  6    get the product back.   And so in order to do that you

  7    need the customer to return the product.       And there's no

  8    incentive for them to return the product if you just

  9    blanketly issue them the refund first.

 10       Q.   Was there any other reason for the decision not          11:36:22

 11    to issue automatic refunds?

 12       A.   The CPSC would not have allowed it.

 13       Q.   Is there a document that you have received from

 14    the CPSC that states that the CPSC would not have

 15    allowed it?                                                      11:36:39

 16       A.   No.

 17       Q.   Can you tell me approximately when in 2019 the

 18    emails were sent out?

 19       A.   I believe it was middle of June.

 20       Q.   So do you have in front of you a document that's         11:37:02

 21    been marked Exhibit 29, with the Bates numbers on the

 22    first page ending in the numbers 180?

 23            (Whereupon, Deposition Exhibit 29 was marked for

 24    identification by the Certified Shorthand Reporter, a

 25    copy of which is attached hereto.)                               11:38:20

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  1    the stores still did not have replacements on stock?

  2       A.     That sounds accurate.

  3       Q.     Did Harbor Freight receive complaints from

  4    customers about lack of replacement units?

  5       A.     Yes.                                                 11:52:00

  6       Q.     Was anyone at Harbor Freight tasked with

  7    monitoring complaints either on Twitter or Facebook or

  8    anywhere about the inability to get replacement

  9    products?

 10       A.     The customer service team was instructed on how      11:52:12

 11    to discuss the situation with customers calling to

 12    complain them -- complain to them.       I don't know that

 13    the social media -- social media was the corporate

 14    communications director.     And I don't know that she

 15    addressed anything directly on social media.                   11:52:36

 16       Q.     Is it consistent with your recollection that as

 17    of June -- late June, maybe June 22nd Harbor Freight was

 18    still having trouble getting replacement products in its

 19    stores?

 20       A.     Yes, that's accurate.                                11:52:57

 21       Q.     Do you know if customers complained to the CPSC

 22    about the unavailability of replacement products?

 23       A.     Yes, they did.

 24       Q.     Did you ever have a conversation with anyone at

 25    the CPSC about that subject?                                   11:53:17

                                                                    Page 106

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                                   #:5699

  1       A.   After the recall was launched, no.       Outside

  2    counsel would have.

  3       Q.   Did you have a conversation about that subject

  4    before the recall was launched?

  5       A.   We advised the CPSC we would not have full stock           11:53:35

  6    as of the launch date during our discussions about how

  7    to best publicize the recall and explain the methods for

  8    customers.

  9       Q.   What -- what was the CPSC's reaction to that?

 10       A.   The CPSC asked us what our alternative was.        And     11:53:52

 11    we said we would give customers a gift card when they

 12    returned the chainsaw in place of the replacement

 13    product.

 14       Q.   Are you aware of any emails exchanged between

 15    yourself or anyone at Harbor Freight and the CPSC                  11:54:11

 16    discussing that option?

 17       A.   I believe mostly it was by phone.       I don't recall

 18    if there were emails or not.

 19       Q.   And were those conversations by phone between you

 20    and someone at the CPSC?                                           11:54:28

 21       A.   It would've been myself and Sheela Kadambi at the

 22    CPSC.

 23       Q.   And did you have discussions with Ms. Kadambi

 24    about publication methods?

 25       A.   Yes.                                                       11:54:43

                                                                        Page 107

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                                   #:5700

  1    the executives like Jason Sprong, the head of

  2    merchandizing who's no longer there.          So it's now

  3    Sam Weinberg.      But he wouldn't have actually been in

  4    that meeting.

  5             And it would've been a joint discussion about how     12:04:32

  6    to handle.      Because we knew we were not going to have

  7    enough chainsaws to supply the demand immediately, and

  8    we wanted to encourage some sort of participation.

  9       Q.    Do Harbor Freight gift cards have expiration

 10    dates?                                                         12:05:08

 11       A.    No.

 12       Q.    I think looking back at Exhibit 22, which is your

 13    declaration, you noted that refunds -- I'm looking at

 14    paragraph 8.      Refunds were only given in limited

 15    circumstances.                                                 12:05:36

 16             Do you see that?

 17             It's page 2, line 14 of your declaration,

 18    Exhibit 22.

 19       A.    That's cash refunds.

 20       Q.    Yes.                                                  12:05:42

 21       A.    Yes.

 22       Q.    Why is it that Harbor Freight only gave cash

 23    refunds in limited circumstances?

 24       A.    The agreement in the policy was to give the

 25    replacement chainsaw.       If you didn't have the             12:05:55

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  1    replacement chainsaw, give them a gift card of that

  2    value.

  3       Q.     So --

  4       A.     Typically --

  5       Q.     Oh, I'm sorry.   Go ahead.                                    12:06:01

  6       A.     -- for returns you only get your original method

  7    of payment or cash if you have the receipt.             We were not

  8    requiring you to have the receipt.        So we were giving

  9    you just a gift card at a set value.         Our chainsaw

 10    could've been on sale when you bought it.                               12:06:17

 11              We set the average selling price.       So we opted to

 12    do a gift card because we were not making you prove you

 13    paid X amount and deserved this amount in cash.

 14       Q.     So it was essentially a policy decision to make

 15    it more or less consistent with your regular return                     12:06:32

 16    policy?

 17       A.     Correct.

 18       Q.     Is it consistent with your memory that

 19    approximately a thousand gift cards worth approximately

 20    $50,000 were distributed in connection with the recall?                 12:06:58

 21              And if you don't remember, that's fine.

 22       A.     I really don't remember.

 23       Q.     Okay.   Do you know how many of the gift cards

 24    that were given out, whatever number that may be, were

 25    actually redeemed?                                                      12:07:30

                                                                             Page 115

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  1             Certification of Court Reporter
  2                         Federal Jurat
  3
  4             I, the undersigned, a Certified Shorthand
  5    Reporter of the State of California do hereby certify:
  6             That the foregoing proceedings were taken before
  7    me at the time and place herein set forth; that any
  8    witnesses in the foregoing proceedings, prior to
  9    testifying, were placed under oath; that a verbatim
10     record of the proceedings was made by me using machine
11     shorthand which was thereafter transcribed under my
12     direction; further, that the foregoing is an accurate
13     transcription thereof.
14              That before completion of the deposition, a
15     review of the transcript [ ] was [ ] was not requested.
16              I further certify that I am neither financially
17     interested in the action nor a relative or employee of
18     any attorney of any of the parties.
19              IN WITNESS WHEREOF, I have this date subscribed
20     my name this 5th day of February, 2020.
21
22
                <%15041,Signature%>
23              Dayna Michelle Glaysher
24              CSR Number 13079
25              RPR, CRR Number 28081

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                                   #:5704




 1990 N. CALIFORNI A BLVD.                                                     JOEL D. SMITH
 S UI TE 9 4 0                                                                Tel: 9 2 5 . 3 0 0 . 4 4 5 5
 W AL N U T C RE E K, C A 9 4 5 9 6                                           Fax: 9 2 5 . 4 0 7 . 2 7 0 0
 www.bursor.com                                                            jsmith@bursor.com

                                            May 7, 2019

  Via Certified Mail - Return Receipt Requested

  Harbor Freight Tools USA, Inc.
  26541 Agoura Rd.
  Calabasas, CA 91302-2093

  Re:    Demand Letter Pursuant to California Civil Code § 1782; Violation of Magnuson-Moss
         Warranty Act, 15 U.S.C. §§ 2301, et seq.; U.C.C. §§ 2-313, 2-314; all other applicable
         laws

  To Whom It May Concern:

          This letter serves as a preliminary notice and demand for corrective action by Harbor
  Freight Tools USA, Inc. (“You” or “Defendant”) pursuant to numerous provisions of California
  law, including but not limited to subsections (a)(5), (7), and (9) of the Consumers Legal
  Remedies Act, Civil Code § 1770, on behalf of our clients, Will Kaupelis, Frank Ortega, and all
  other similarly situated purchasers. This letter also serves as notice pursuant to U.C.C. § 2-
  607(3)(A) concerning the breaches of express and implied warranties described herein.

          You have participated in the marketing and sale of Portland, One Stop Gardens, and
  Chicago Electric 14-inch Electric Chainsaws (the “Products”). However, you issued a recall of
  the Products due to a malfunction with the Products’ power switch, which allows the chainsaw to
  continue operating even after the operator has switched the Product to the “off” position. This
  defect poses a serious injury hazard to the operator. The recall provided relief only to
  approximately 2% of individuals who purchased the defective products.

          Mr. Kaupelis and Mr. Ortega intend to seek action on behalf of a class defined as all
  persons in the United States who purchased the Products. Mr. Kaupelis and Mr. Ortega also
  intend to seek action on behalf of a subclass of persons who purchased the Products in the State
  of California.

          To cure these defects, we hereby demand that You immediately make full restitution to
  all purchasers of the Products of all purchase money obtained from sales thereof. If you do not,
  we will commence a putative class action seeking monetary relief under the CLRA on behalf of
  Mr. Kaupelis and Mr. Ortega, and all others similarly situated.

          We also demand that You promptly take all reasonable steps to preserve all documents,
  data, and information, including without limitation, all “Writings,” as defined in California
  Evidence Code § 250 (collectively, “Documents”), and all “Electronically Stored Information,”
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                                                                      PAGE 2




  as defined in California Code of Civil Procedure § 2016.020(e), which refer or relate to any of
  the above-described practices, including, but not limited to, the following:

         1.      All documents concerning the design, development, and/or testing of the
                 Products;

         2.      All documents concerning the advertisement, marketing, or sale of the
                 Products;

         3.      All documents concerning communications with purchasers of the
                 Products;

         4.      All documents concerning the total revenue derived from sales of the
                 Products in California and the United States;

         5.      All documents concerning the identity of individual purchasers of the
                 Product.

         If you contend that any statement in this letter is inaccurate in any respect, please provide
  us with your contentions and supporting documents immediately upon receipt of this letter.

          Please contact me right away if you wish to discuss an appropriate way to remedy this
  matter. If I do not hear from you promptly, I will take that as an indication that you are not
  interested in doing so.


                                                        Very truly yours,




                                                         Joel D. Smith
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                                    #:5706




                                                                EXHIBIT 60
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                                    #:5707

  1                     UNITED STATES DISTRICT COURT
  2                    CENTRAL DISTRICT OF CALIFORNIA
  3                           SOUTHERN DIVISION
  4
        _____________________________
  5     WILL KAUPELIS and FRANK                   )
  6     ORTEGA, individually and on               )
  7     behalf of all others                      )
  8     similarly situated,                       )
  9                   Plaintiffs,                 )
                vs.                               ) Case No.
 10     HARBOR FREIGHT TOOLS USA,                 ) 8:19-cv-01203-JVS-DFM
 11     INC.,                                     )
 12                   Defendant.                  )
        _____________________________)
 13
 14
 15                   REMOTE VIDEOTAPED DEPOSITION OF
 16                      JONATHAN T. TOMLIN, Ph.D.
 17                       Los Angeles, California
 18                      Wednesday, August 5, 2020
 19                                   Volume I
 20     Reported by:
 21     CHRIS TE SELLE
 22     CSR No. 10836
 23     Job No. 4206660
 24
 25     PAGES 1 - 83

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  1            A.   It was about an hour.                              09:07:22

  2            Q.   Dr. Tomlin, can you hear me okay, by the

  3     way?

  4            A.   Yes.

  5            MS. OZERAN:     Better.                                 09:07:35

  6            MR. LESLIE:     Better?

  7            MS. OZERAN:     Yeah.

  8     BY MR. LESLIE:

  9            Q.   Dr. Tomlin, do you agree that the market

 10     value for a good or service is measured by its                 09:07:44

 11     market price?

 12            A.   I think it depends on the context, so,

 13     there might be some legal context in which there's

 14     some definition of market value.          I can tell you, as

 15     an economist, I do think of market value and market            09:08:02

 16     price as the same thing.

 17            Q.   Did consumers receive any market value

 18     from the chainsaws at issue in this litigation?

 19            MS. OZERAN:     Objection.   Outside the scope.

 20     BY MR. LESLIE:                                                 09:08:22

 21            Q.   You may answer.

 22            A.   Sure.     They obtained value, meaning it had

 23     value to them.       Whether they obtained value that

 24     could equate into a market price, I don't know.          I

 25     haven't analyzed that.                                         09:08:39

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  1                 Can a defect in a consumer product ever              09:12:51

  2     result in the market price of that product being

  3     lower than it otherwise would have been but for the

  4     defect?

  5          MS. OZERAN:     Objection.   Incomplete                     09:13:03

  6     hypothetical.

  7          THE WITNESS:     Right, it, the answer is, it

  8     could.    It may or it may not, but, if you're asking

  9     is it possible, yes, it's possible.

 10     BY MR. LESLIE:                                                   09:13:21

 11          Q.     Everything else being equal, would you

 12     agree that consumers are better off paying less

 13     money rather than more money for a product?

 14          A.     Yes, I would agree.

 15          Q.     Are there methods that can be used to                09:13:48

 16     determine class-wide damages for a consumer product

 17     sold at retail?

 18          A.     It depends on the, on the case.         So, there

 19     could some cases in which there isn't a viable

 20     method, and there can be cases in which there is a               09:14:10

 21     viable method.     It depends on specifics.

 22          Q.     What about a product, rather, let's say

 23     it's an automobile, and let's say that there is a,

 24     that it has a defective engine, which results in the

 25     consumer not being able to drive the car as                      09:14:36

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  1     BY MR. LESLIE:                                                  09:51:54

  2          Q.    So, then, there would be a change,

  3     correct, because, obviously, the chainsaws do have a

  4     market price?

  5          A.    No, there wouldn't be any change, because            09:52:07

  6     it would be nonexistent.     There would be no market

  7     price.

  8          Q.    Have you ever seen a product defect, a

  9     disclosure of a product defect result in a change of

 10     that product's price?                                           09:52:29

 11          A.    I can't recall of any instances, but this

 12     is not something that I've studied.

 13          Q.    Have you performed any analysis to

 14     determine if any consumers would not have purchased

 15     the challenged chainsaws if a disclosure had been               09:52:54

 16     made, holding all else equal?

 17          A.    Well, yes, in the sense that my opinion is

 18     that if the disclosure described by Mr. Gaskin was

 19     made at the time of purchase, it would be unlikely

 20     that there would be any market price.          Therefore, it    09:53:22

 21     would be unlikely that consumers would be purchasing

 22     such a product.   There wouldn't be a market for it.

 23          Q.    Have you performed any analysis to

 24     determine how many fewer units of the challenged

 25     chainsaws would have been sold if a disclosure                  09:53:44

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                                    #:5711

  1     conducting it why they conducted it.                                10:31:34

  2             Q.   Have you reviewed the complaint in this

  3     case?

  4             A.   Yes.

  5             Q.   Are you familiar with it?                              10:32:06

  6             A.   I'm generally familiar with it.           I haven't

  7     reviewed the whole thing within the last couple of

  8     days, but I'm generally familiar with it, yes.

  9             Q.   In your own words, what is plaintiffs'

 10     stated theory of liability?                                         10:32:24

 11             A.   Well, it's what I've described in my

 12     declaration.        I can read it to you, if you'd like.

 13             Q.   I would like not for you to read it from

 14     your declaration, but, just sitting here, can you

 15     tell me what it is.                                                 10:32:38

 16             A.   Sure.     I mean, it's right here, but, if

 17     you don't want me to use this, my understanding is

 18     that the plaintiffs, at a high level, are arguing

 19     that there was some issue with Portland chainsaws in

 20     which under certain circumstances the chainsaw would                10:32:56

 21     not shut off, and that this was not disclosed to

 22     consumers in the packaging or the website.

 23                  That's at a high level.

 24             Q.   Just going back to conjoint surveys for a

 25     moment, do you have a general sense of some of the                  10:33:20

                                                                           Page 54

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                                    #:5712

  1     reasons why businesses use conjoint surveys?                10:33:23

  2            A.   Yes.

  3            Q.   And what are they?

  4            A.   Well, they might have a new product

  5     introduction, and they want to know something about         10:33:40

  6     consumer demand for an attribute or a feature they

  7     are thinking about introducing.

  8            Q.   Can you think of any other reasons?

  9            A.   Well, usually, the reasons I'm thinking

 10     about it, it has to do with trying to value a               10:34:01

 11     particular product feature.       I can't think of

 12     reasons beyond that.

 13            Q.   So, earlier --

 14            A.   By, value, I mean how consumers value it.

 15            Q.   Understood.                                     10:34:23

 16                 So, we just talked about plaintiffs'

 17     stated theory of liability, correct?

 18            A.   Yes.

 19            Q.   So, for the purposes of your work on this

 20     case, have you assumed that plaintiff will establish        10:34:37

 21     that liability?    Yes or no.

 22            A.   No, I haven't made any assumption either

 23     way.

 24            Q.   Do you agree that a historic market price

 25     reflects the then-extant demand conditions?                 10:35:22

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                                    #:5713

  1     seeing how well the data you do have predicts what                  11:09:33

  2     you held out.

  3                  That's the way I think of it.           It may have

  4     some other, you know, usage in other places.

  5             Q.   Do you know what mean absolute error is?               11:09:44

  6             A.   It's a statistical measure of seeing what

  7     the value of an error term is.        It's a way they're

  8     measuring performance, statistically.

  9             Q.   Is that how mean absolute error is used by

 10     conjoint practitioners?                                             11:10:03

 11             A.   I think it would probably have to depend

 12     on the conjoint survey.

 13             Q.   Do conjoint analysis need to involve every

 14     attribute of the product being studied?

 15             A.   That's outside of my area of expertise.           I    11:10:23

 16     don't design conjoint surveys, as I told you.

 17             Q.   So the answer is you don't know.

 18             A.   That answer is I don't have an opinion on

 19     that.

 20             Q.   Can conjoint be used to study products                 11:10:37

 21     that have not yet been introduced on the market?

 22             A.   Yes.   My understanding is conjoint is

 23     sometimes used to evaluate hypothetical products

 24     that haven't been introduced.

 25             Q.   What is orthogonal design within the                   11:10:55

                                                                           Page 69

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  1     context of choice-based conjoint analysis?                      11:10:59

  2             A.      Generally, as I recall, it's a way of

  3     setting up the question levels in a certain way.

  4     You have a certain number of attributes that you

  5     want to set up.          Sometimes prices, though, is one of    11:11:16

  6     those, and they give it in an table, and an

  7     orthogonal way is to set the questioning up.

  8             Q.      Is orthogonal design recommended for

  9     choice based conjoint analysis?

 10             A.      That, I don't know.      Once again, we're      11:11:37

 11     getting into conjoint design, and I'm not an expert

 12     in designing conjoints, and I'm not designing one in

 13     this case.

 14             Q.      Can you study a product attribute in a

 15     conjoint survey without mentioning that attribute?              11:11:52

 16             A.      I don't have an opinion on that one way or

 17     the other.

 18             Q.      So, you don't know?

 19             A.      Right.    I don't know the answer to that,

 20     as I sit here, because, I mean, we've been through              11:12:09

 21     this.        I'm an economist, an expert in damages and

 22     pricing.

 23             Q.      Understanding that you disagree with what

 24     Mr. Gaskin has done, do you believe that it's

 25     possible, if done correctly, to marry a conjoint                11:12:32

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  1           I, the undersigned, a Certified Shorthand
  2     Reporter of the State of California, do hereby
  3     certify:
  4           That the foregoing proceedings were taken
  5     before me, via videoconference, at the time and
  6     place herein set forth; that any witnesses in the
  7     foregoing proceedings, prior to testifying, were
  8     duly sworn; that a record of the proceedings was
  9     made by me using machine shorthand which was
 10     thereafter transcribed under my direction; that the
 11     foregoing transcript is a true record of the
 12     testimony given.
 13           Further, that if the foregoing pertains to the
 14     original transcript of a deposition in a Federal
 15     Case, before completion of the proceedings, review
 16     of the transcript [ ] was [ ] was not requested.
 17           I further certify I am neither financially
 18     interested in the action nor a relative or employee
 19     of any attorney or party to this action.
 20           IN WITNESS WHEREOF, I have this date subscribed
 21     my name.
 22           Dated: August 10, 2020
 23
                <%7040,Signature%>
 24             CHRIS TE SELLE
 25             CSR No. 10836

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                                                                EXHIBIT 61
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                                  R-O-U-G-H    D-R-A-F-T                  1



          1    PURSUANT TO CODE OF CIVIL PROCEDURE SECTION 273(b),

          2    THIS ROUGH DRAFT TRANSCRIPT SHALL NOT BE CERTIFIED

          3    AND CANNOT BE USED, CITED, OR TRANSCRIBED AS THE

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         13

         14                       WILL KAUPELIS, et al

         15                                   vs

         16                 HARBOR FREIGHT TOOLS USA, INC.,

         17                       8:19-CV-01203-jvs-dfm

         18

         19                                   ---

         20

         21                       DR. ROBERT ZEITHAMMER

         22

09:13:22 23                           AUGUST 24, 2020
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          1    example.    Please give me a concrete example and we

          2    can talk about it.

          3           Q    Can we use the memory on the smartphone

          4    example?

          5           A    Okay.     Give me an example how that becomes a

          6    -- what you mean by defect on that phone.

          7           Q    Why don't we say that the smartphones memory

          8    is defective such that you have issues saying photos

          9    and videos to the phone.

         10           Could a defect such as that one have an effect on

         11    market price such that the price of the product would

         12    be lower than it would have otherwise been but for

         13    the defect?

         14           MR. HERLING:     Objection as to form.

         15           THE WITNESS:     I am not sure.   Because when I

         16    looked at the Apple website, I did not see phones

         17    marketed with that defect.

         18           BY MR. LESLIE:

         19           Q    So, you don't know whether a product that has

         20    a defect, whether that defect could result in a lower

         21    market price than the product otherwise would have

         22    had?

         23           A    I am not aware of an example of smartphones

         24    with defective memory being marketed by Apple for
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         25    lower prices.

         26         If they were, that would be a good example of

                                     R-O-U-G-H   D-R-A-F-T                  10



          1    what you are trying to find.

          2         Q    Can you think of any defective products that

          3    you've seen over the course of your work where the

          4    market price of that product was lower than it

          5    otherwise would have been but for the defect?

          6         A    I am not sure.

          7         Q    In your opinion, would you agree that

          8    consumers are better off paying less money rather

          9    than more money for a product?

         10         MR. HERLING:     Objection as to form.

         11         THE WITNESS:     If by product you mean the very

         12    same product, they absolutely I would highly

         13    recommend to all consumers to pay less money than

         14    more money for the exact same thing.

         15         BY MR. LESLIE:

         16         Q    In your opinion, are there methods that can

         17    be used to determine class-wide damages for a

         18    consumer product sold at retail?

         19         A    I am no lawyer.     I am not sure about class by

         20    damages as an exact legal definition.     I am not a

         21    lawyer.
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         22         Q    Have you ever heard the term before today?

         23         A    Yes.

         24         Q    Did you have trouble understanding it before

         25    today or is there something about today that you

         26    don't understand what "class-wide damages" means?

                                    R-O-U-G-H    D-R-A-F-T               11



          1         A    I have a layman's understanding of the term,

          2    but I am not a lawyer, so I don't know.

          3         Q    I am asking you to apply your layman's

          4    understanding to that term and answer the question.

          5    I can repeat it if you would like.

          6         A    Sure.    Repeat the question.

          7         Q    Are there methods that can be used to

          8    determine class-wide damages for a consumer product

          9    sold at retail in your opinion?

         10         A    So, by "class-wide damages" we mean some

         11    compensation than I am just going tell you my

         12    definition.    That some compensation that people who

         13    have purchased the product, or something like that in

         14    the past of service, that they should receive and

         15    this is, of course, conditional on some definition of

         16    the classes.

         17         Again, as a non-lawyer, I don't quite grasp

         18    completely.    But my understanding it's the class,
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         19    group of consumers who are similarly effected; is

         20    that right?

         21         Q      That is right, yes.

         22         A      Okay.   So, yeah, I have certainly seen

         23    examples of people trying to calculate these damages.

         24         Q      Can you tell me some of those methods?    What

         25    they are?

         26         A      Well, I think think that the question is so

                                     R-O-U-G-H    D-R-A-F-T                 12



          1    broad that it could be used to focus on a specific

          2    setting.

          3         I have looked at some examples of the labeling

          4    points in my work, so I am a little bit more familiar

          5    that that's specific domain and there people often

          6    use the conjoint analysis.

          7                  (Whereupon court reporter

          8                  asked for clarification.)

          9         THE WITNESS:     Sorry.   Again, about my terrible

         10    accent.

         11         And conjoint analysis is displayed labeling

         12    claims because in a conjoint analysis, we can present

         13    consumers with alternate labels.

         14         BY MR. LESLIE:

         15         Q      How about besides conjoint, can you think of
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         16    any others?

         17         A    Not that I am an expert in.

         18         Q    Are there methods that can be used to

         19    determine class-wide damages for consumer product

         20    sold at retail that has a defect?

         21         A    I don't know.

         22         Q    Did you conduct any research on this issue?

         23         A    No.

         24         Q    Do you know whether Defendant seeks to

         25    maximum revenue?

         26         A    No.    I don't know.

                                     R-O-U-G-H   D-R-A-F-T               13



          1         Q    Do you know whether Defendant seeks to

          2    maximum profit?

          3         A    I don't know.

          4         Q    Do you have any reason to believe that they

          5    do not seek to maximum revenue or profit?

          6         A    I do not.

          7         Q    Do you know who sets the retail price for

          8    Defendant's products?

          9         A    No.

         10         Q    Do you know the range of prices paid by

         11    consumers that purchased class chainsaws?

         12         A    Yes.     I have seen a spreadsheet which was
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         13    provided to me as part of data used by other experts,

         14    right, in the case.    That spreadsheet, I was able to

         15    see a range of prices.

         16         Q     Do you recall what the range was -- sorry to

         17    interrupt you.

         18         A     Sorry.   Sorry.

         19         No, I don't recall off the top of my head.   It is

         20    in my -- but I did refer to it in my report, I

         21    believe.

         22         Q     Did you study the range of prices paid by

         23    consumers for competing chainsaws?

         24         A     Can you tell me what you mean by "competing

         25    chainsaws"?

         26         Q     Chainsaws that compete with Defendant's

                                     R-O-U-G-H   D-R-A-F-T                14



          1    product in the marketplace?

          2         A     Do you mean in Harbor Freight?

          3         Q     I mean in the whole marketplace, not just

          4    Harbor Freights store.

          5         A     Then no, I did not conduct any comprehensive

          6    analysis of comparative prices in the broad market

          7    for chainsaws, in general.

          8         Q     Can you name some of the competing brands for

          9    the products at issue here?
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         10         A      Yes.   I believe that one of the central

         11    brands is called Portland and it competes with

         12    several brands at Harbor Freight.     And those brands,

         13    I don't recall off the top of my head, but again I

         14    list them in my report and they are easily visible of

         15    course on Harbor Freight's website.

         16         Q      Apart from chainsaws whose brands fall under

         17    the umbrella of Harbor Freight Tools, can you name

         18    any competing chainsaws?

         19         A      Well, I can certainly name other chainsaws,

         20    but I don't know the extent to which these are

         21    competing chainsaws.

         22         For example, in my garden shed, I have a chainsaw

         23    by Black and Decker.     So, yeah, I have another

         24    chainsaw that's -- I believe is not sold at Harbor

         25    Freight, but I am not sure to the extent to which

         26    this chainsaw is actually competing with the product

                                     R-O-U-G-H   D-R-A-F-T                 15



          1    at issue.

          2         Q      For opining whether damages can be calculated

          3    on a class-wide basis would you -- is it your opinion

          4    that it's important to know the average price

          5    consumers paid for the product at issue?

          6         A      I think you would be more than the average
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          7    price.   I think that a detailed record of prices paid

          8    by different consumers would be necessary to really

          9    get at the question.

         10         Q    Would understanding the fact that there's

         11    multiple data points you would want to look at, is

         12    one of those data points:    Average price paid?

         13         A    Well, yes, sure.   After receiving a set of

         14    prices, I could calculate for example, the average.

         15    I could also calculate others.     But, again, just

         16    knowing the average is not enough.

         17         Q    Would you want to know the average price paid

         18    by consumers for competing chainsaws as well?

         19         A    Yes.   And, again, I would like to know not

         20    just the average but a whole range of prices that

         21    were paid for competing chainsaws.

         22         Q    Are you familiar with the econometric

         23    technique called hedonic regression?

         24         A    I have heard of it in my -- in the course of

         25    my graduate study.

         26         Q    In your own words, are you able to just tell

                                    R-O-U-G-H    D-R-A-F-T                  16



          1    me what it is and how it works?

          2         A    I would have to review the techniques.      I am

          3    not an expert in.
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          4         Q    Then is it fair to say that you never

          5    performed a hedonic regression analysis before?

          6         A    Correct.

          7         Q    We mentioned this phrase earlier and I

          8    understand you're very familiar with it, but can you

          9    tell me in your own words what a conjoint analysis is

         10    and how does it work?

         11         A    Sure.   Conjoint analysis is a survey

         12    technique that allows analyst, such as myself, a

         13    researcher such as myself, to measure consumer demand

         14    for products that can be easily captured by specific

         15    attributes, and the benefit of the technique is that

         16    it mimics actual, so shopping environments to the

         17    best analyst's ability, of course, and that way can

         18    tap into the behavior that consumers exhibit when

         19    they shop, which of course at the end of season of

         20    demand.

         21         Q    About how many times would you say you have

         22    performed a conjoint analysis?

         23         A    I think the word "perform" is difficult here

         24    because that in some cases, I have conducted

         25    analysis, myself, from beginning to end.

         26         In other cases, I have worked with collaborators

                                    R-O-U-G-H   D-R-A-F-T                17
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          1    in which I didn't necessarily perform all of the

          2    steps necessary.

          3         Even more cases in my capacity as an instructor,

          4    I have been involved with conjoint analysis conducted

          5    by student groups for their projects.    But, of

          6    course, I was trying to help them make sure that the

          7    conjoint works out.     But, myself, did not perform as

          8    to say that many, some, but not that many.

          9         So there is a range of involvement that can point

         10    to analysis.   So which of these levels of range of

         11    involvement would you like me to tell you about.

         12         Q    I am most interested in the first two

         13    categories of involvement that you mentioned?

         14         A    Probably dozens.

         15         Q    And of those dozens of time, have they been

         16    both inside and outside of the litigation context or

         17    primarily for mitigation?

         18         A    I would say primarily not for litigation.

         19         Q    And if not for litigation, would it be for a

         20    company of some sort?

         21         A    Well, I am a researcher so -- conjoint

         22    analysis as a very nice and useful research tool.

         23    And, yes, I have conducted conjoint analysis for

         24    companies in consulting roles as well.

         25         Q    Did you conduct a conjoint analysis in this
